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                       CONDENSED      TRANSCRIPT




                    ERVIW       RURLBERT          ET   AL
                                     VS
                    Ilk      GRACE         CO ET       AL




                            VIDEO    DEPOSITION

                                      OP

                             EARL          LOVICK

                               Volume




                     Taken    December       19     1996




                Reported by Jolene       RPR   Au
                   Redman    Au Reporting
                        947 South Nain
                         P.O Boz 394
                  Kalispell Nontana 59901
                             406 7525751
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EARL                    LOVICK                        VOL                                                          CondeuseltM                                           HU1LBERT                                VS W.R. GRACE
                                                                                                                    Page
 4138                        IN    THE     DISTRICT                                                                                                                                                                                                Page
                                                              COURT         OF      THE     NINETEENTH


                        JUDICIAL           DISTRICT           NOR        THE       STATE     ON    MONTANA


                                   IN     AND    NOR        THE     NTT             OF     LINCOLN

             ERVIN                HURLBRRT                                           Cause        No   DV95109
                                                                                                                                                                  STIPULATIONS
                                   Plaintiff

             LESTER          II2 59RZiSrAD                    and                    Cause        No   DV-95-127
             NORITA          lONE        SERN4STAD                                                                                                     It     was      Stipulated                    and       between        counsel
                                                                                                                                                                                              by
             husband          and        wire
                                                                                                                                  for     the       respective              parties         that         the                         be
                                                                                                                                                                                                                deposition
                                   Plaintiffs
                                                                                                                                  taken        by    Jolene
             DONALD                                                                                                                                                 Ana       Registered                 Professional
                             91    EARDIND           and     DOVISE                   Cause       No   DV-967i
                   RAEDING               husband       and        wife                                                            Reporter           and      Notary         Public         Lot      the       State     of    Montana
        10

                                   P1thtitfs                                                                                10    residing           in     Flathead                           Montana
                                                                                                                                                                              County
        11

             ORP.LENN                  TONI          RILEY                           Cause        No   DV96111              11                         It     was      further        stipulated                and
        12                                                                                                                                                                                                             agreed        by

                                   laintirf                                                                                 12    and     between           counsel          for the          respective              parties        that
        13
                        vs                                                                                                  13    the     Deposition              be     taken       at      the     tine       and    place     set
        14

             N.R  GRACE                   CO                                                                                14    out     on     the      caption           and   pursuant               to    the    Montana        Rules
             Connecticut
        15                               corporation                1171
                                                                                                                            15    of    Clvii        Procedure
        16                         Defendants

                                                                                                                            16                         It     was      further         stipulated               and    agreed        by
        17

                                                     VIDEO        DEPOSITION                                                17    and     between           counsel          for     the      respective              parties        and
        19

                                                                    OF                                                      19    the     wltnesg           that       the    reading              and     signing       of    the
        19

                                                      EARL               10111CR                                            19                            would        be
                                                                                                                                  deposition                                 expressly              reserved
        20

                                                                                                                            20
        21        Taken           at     the    Offices           of     Hedman             Aea    Raporting
                                                      947     Sooth        Main                                             21
        22                                     Kaliepei.l  Montana
                                          Thursday   Deeeebec   19                          1996                            22
        23                                                   904         a.e
                                                                                                                            23
        24

                  Reported   by Joiene                       Asa         RPR        and  Notary  Public                     24
        25           for the  Stats  of                      Montana               Fiathead   County
                                                                                                                            25



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                                                APPEARANCES                                                                                                                           NOEX


             Appearing             on     behalf        of    the        Plaintiff                                                EXAIIINACION                                                                                        PAGE

                        Mr        Jon           Heberling                Req                                                      Ri    MR       HEBER.LING
                        Mosarvey               Hebsrling               Sullivan              Hocarvoy        P.C
                        745 South              Main
                        Re.iispell              MI 59901



        10   Appearing             en     behalf       of     the        Defendants                                         10


        11              Mr        Gary
                                     Graham                         Req                                                     11
                        Griington    Lohn                         Robinson                PILP
        12              P.O  BOx 7909                                                                                       12
                        Missoula               MC 599077959
        13
                                                                                                                            13


        14                         on     behalf
             Appearing                                  of    the        Earl              Lovck                             14   EXHIBITS                          DESCRIPTION                                                           PAGE

        15              Mr   Robert     Murphy                           Req                                                15                            I.ist     of      Lovick     Depositions
                        Canner    Edwards    LLP                                                                                                          Delivered           Pet     Huribert
        16              On        Federal        Street                                                                      16                           RIP Hog
                        Boston        lQ        02110
        17                                                                                                                   17                                               Tine         14.oe
                                                                                                                                                          Managers                                                                           33

        18   Videographer                                                                                                    18            194            See       Exhibit         Booklets

        19              Mr        Matthew    Scotten
                        Video       Data    Services                of     Montana
        20              P.O        Box   1206                                                                                20
                        Whitefish               Mr    59937
        21                                                                                                                   21


        22
                                                                                                                             22

        23
                                                                                                                             23

        24
                                                                                                                             24


        25                                                                                                                   25




HEDMAN                             ASA REPORTING                                                       406752-5751                                                                                                             Page               Page
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                                                                                                           Page                                                                                                               Pa

                               THE REPORTER                     This       is   the   video                                                          Yes sirIhave
               deposition        of Earl          LOViCk         taken          in the case           of   Ervin O9fl                                What    has     that     consisted        of
               Hurlbert        versus       W.R       Grace Cause                   No DV-95-109                                                     Well its consisted of various things
               Nineteenth         Judicial         District Court case                      in   Lincoln              ou                Its consisted of doing                     some work on           health      matters

               County          This     deposition              is   being taken            today          at   the                     for    the
                                                                                                                                                     company            Its        consisted    of doing        some tax

               offices of       Hedman                Ma Court Reporting in                                                             work     for   the      company            and some legislative              lobbying.

               Kalispell        Montana             The         date   today is December                                                             Okay       And        included       in the     health     work
               19th    1996 and             the    time is now                  904 aim                                                 have     you given          depositions

                       Id ask counsel                 to    please         identify                                   ois                            Yes sir          have

         10    themselves         for the         record                                                                        10                   When you         give           deposition       are     you paid
O44 11                         MR HEBERLING                      Jon Heberling                                        ozz11             bythecompany
O446     12    representing        the Plaintiffs                                                                               12                   Yes sir am
O4rU     13                    MR ORAHAM                    Gary Graham of                                            _-- 13                         How much
090450   14    Garlington Lohn                     Robinson                representing               the             O9O62     14                   $300    aday
         15    Defendant          W.R         Grace                                                                   t3215                          And     has    this    been      tme for quite           some time

O9O46    16                    MR MURPHY                   Robert Murphy                    of                        O634      16      for    most of       the    depositions          youve        given

Q9O4     17    Casner           Edwards of Boston                          Massachusetts                              O9O34     17                   Yes ithas
oco 18         representing        the       witness            Mr Lovick                                             O631      18                   Are you paid             also    for preparation          time    for


         19                    THE VIIEOGRAPHER                            Matt Scotten                of             O9O63     19      the    depositions

O9 20 Video               Data Services             of     Whitefish                                                  oos 20                         Yes sir
         21                    THE REPORTER                     And Im Jolene                     Asa                           21                   And Mr Murphy                    is here   as    your personal

         22    and    Im the court reporter                          and    Im in Kalispell                                     22      attorney        is   he
         23    Montana                                                                                                          23                   Yes heis
         24             Iwillnowgoaheadandswearinthe                                                                  oo24                           Are you paying                him
         25    witness                                                                                                          25                   No sir Im not

                                                                                                           Page                                                                                                                Pa

                        If     youll    raise your right                   hand                                                                      Do you know who does
                                                                                                                      O9Of.$2                        W.R        Grace         is    paying him

                                  EARL             LOVICK                                                             O9O654                         Andhaveyougiventtialtestimonyinthe

               being first duly sworn                      to   tell   the truth            the   whole               O97               Montana             case     of Carol Graham                        case     of asbcsi

               truth    and      nothing          but the truth                 testified        as                   o91               against W.R                 Grace
               follows                                                                                                O9O1                           Yes sir             believe           did

                                                                                                                      O91O4                          Andhaveyougiventrialtestimonyinthe

DIS                                   EXAMINATION                                                                     ooi               Montana             case     of Millie           Johnson              case    of

O9             BY MR HEBERLING                                                                                         a9-o7                         Yes sir
         10             Would you             state        your name for the record                                    oeiz      10                     asbestosis             against         W.R     Grace

 24      11             My name is Earl                              Lovick                                            ooni11                        Yessir
         12             And what             is   your address                                                         9oit6     12                  Have you testified                   in other      trials       outside

 O9i 13                   1021     Idaho Avenue                      Libby Montana                                               13     Montana

 o.io    14             Whats your age                                                                                 O7I$      14                   Yes          have
         15             Seventy-six                                                                                    O72O      15                   Could        you      tell     us what       they     were
 O94 16                 How        long      have      you lived in Libby                                                        16                   IteslifledinatrialinRochester

 O9O3     17            Ive lived            there     now since 1948                                                  OO1.34    17      New York               and      it   was         personal        injury       case

 U-a3     18              Continuously                                                                                 09-074018         believe            IteslifledinalrialinNewYorkthat

          19              Yes                                                                                                      19    was          personal          injury         case     and       believe

         20             And       are you          retired           from       WR Grace                                         20      testified         in   trial      in Seattle

 oc      21               Yes sirIam                                                                                    oo       21                   Were         those      all    asbestosis        cases

          22              When        did    you      retire                                                                       22                 Yes       sir

 ocoo23                   In    1983                                                                                               23                 Have you given                   deposition         testimony          in ti

          24              Since       that   time have                you done          consulting                                 24    Montana             cases      of Julius James                Robertson             OrpF

          25    work      for   W.R          Grace                                                                                 25    Smith Tom DeSha2er                             and     Lawrence             Card

 Page             Page                                                                                                    BEDMAN                             ASA REPORIING                                    406752-5
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D9LO                         have       given     several            depositions           in                                                  college

t2             Montana            and        cant               dont remember                                                                           Didyouworkin                     1946       as   atruckdriver
l6             specifically         whetho          those        were       included            in    them                                              Yes sirIdid
                         Have        you     also    given           testimony            in the       case                  ui                         Was that after college                  or       before
               of James                      and Virgil Priest                                                                                          That was before
                               Gidley                                                                                                                                                          my college            education

                         Again          Imnotsure                    thatlhave             Its                                                          Was that            summer job or did                     it      extend
Q9jo           possible           11 names are both familiar to me but                                                       ius               longer    than    that
               dont know whether                         testified      in their           cases or not                                                                                                   As
                                                                                                                                                        Basically             summerjob                           recall         it


O93            or gave       depositions            in   those cases                                                         wna               was   like     from March to September                           when            started

          10             One        last   case      Didyougive                     deposition                               u2i0              schooL

44        11   testimony          in the case        of Floyd            Cole Don Dutton Roy                                 Il         11               Okay And then                   did
                                                                                                                                                                                               you graduate                from the
          12   McMillan             Ray Belangie                Ernest Peterson                                                         12     University       of Montana

Q9tn      13             Ireally         dont remember                         dont know                                                13              Yes sir
          14             Do you receive                    pension            from W.R                Grace                  ii         14               Wasthatl948
          15             YesIdo                                                                                                         15               lactually      graduated              in   1947
oz 16                    Ill      show you whats                     marked Exhibit                      and                            16               Okay Thenwlendidyou.gotoworkfor
O617 represent                 to    you that        that       is     list    of    the                                                17     Zonolite

          18   depositions          we     received         that      youve          given        in                                    18               In   March of 1948
D9.14     19   asbestos       cases pursuant               to         request        for                                                19               What was your first position
Q926 20        production            Do you recognize                    the       list    of   cases     as                            20               Accountant
          21   cases where you gave                      depositions                Does         it
                                                                                                      appear     to          ii21                        Then    in    1954        did    you become              an assistant
          22   be     list    of cases where                                                                                            22
                                                           you gave            depositions                                                     manager
          23             Yes itdoes                 Icantsaythatlremember                                                               23               Yes sir
          24   them    all    specifically           but        it
                                                                     appears         to    be                                           24               And how            did   your duties             change          in   1954
          25   similar       list                                                                                                       25               Well         just had       more responsibility                        in


                                                                                                              Page 10                                                                                                                Page       12
                         Yeah                understand that                        Is    it
                                                                                                your                                           working with the general                        manager         and worked                  on
               custom         and                         to    review                                        and
                                        practice                                     deposition                       sign                     assignments        that       he gave           me and          the   scope of my
c.n            it                                                                                                                              work broadened
54                       Yes sir                                                                                                                         So you had           all   of the same work                      and    more
Q-.I                     Does Grace forward                             to
                                                                              you              copy     of the               9I2tO             work
               deposition            sometime              after the deposition                         for your             I2t2                        Yes sir
.RO4           corrections              if   any                                                                                                         And     did   you        hold the position                  of    assistant

O9.IOO4                  Yes theydo                                                                                                            manager        from      1954        to   68
O91QM                    And in the past have                           you made some                                                                    Yes sir
oai 10         corrections                                                                                                               10              And in 1968              what     position            did    you assume
          11             Yes sir have                                                                                                    11              General manager Libby                           operation
OIOI2     12             And do you review                             the depositions                                                   12              Do you know                what       month that            was
o.tu      13   carefully                                                                                                     -13                         NosirIdontbutitwasintbe
OO4       14             Yes sir                                                                                                         14     midsummer              It   could have              been    June or July

oizz      15                 So if theres 22                   depositions                on     this    list                oo           15              Okay And then how long were you the
          16   would         it   be fair to say that you                                 for    22 times you                             16
                                                                                                                              -j24O             general       manager
          17   have     prepared for                                               and         given                                                     Until                     believe
                                                         deposition                                                           0912.4417
                                                                                                                                                                  1970
O932      18   deposition            and      reviewed                the     deposition                                      l2          18              Couldithavebeen71
134       19                 Probably thats correct                            yes sir                                        09I2        19              Yes sir       it   could have              been
oi20                         Isitfairtosayyourefamiliarsviththe                                                                           20              And who           became         general         manager             in    1971
oi2J           history        of asbestos                exposure             at    Zonolite                                                              Robert Olivario
          22                 Yes         would say thats                       true                                           09I3O4      22              And was that              because of his expertise                          in

 o-.23                       Lets begin with the positions                                      you had         at                        23    planning        and                                                             of the new
                                                                                                                                                                       heading           up the construction
 ooo24         W.R           Grace           Did you work                     during           college        there           ooo24             wet mill

 orns25                      No sir               went      to       work          after       Icompleted                     09I3-J4     25              Yes sir
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                                                                                                                                                              between the rafters                              and                           in residential
                                      And then did you continue                                 as    manager              of               I9I50                                                                         ceilings


                             administration                                                                                                 .l54              buildings               primarily

9.DI6                                 Yes         sir                                                                                       99.I34                         Okay Was vermiculite                                         ore shipped out


991310                                Andwastbatfrom                            1971      to83                                              Ik50              Libby then on                              railroad          cars

091310                                Yes         sir                                                                                       09160                       AYes
09-.t339                              What         is       venniculite                                                                                                       Were there                  also       expanding                 plants

0913r34                               Its          nicaceous               mineral        which           is   found                        091934                            Yes      sir


09l33$                       near    Libby Montana among                                other     places                                    99593                             Whats             an expanding                      plant

                                      Is                                            mountain              of it                                                               Well         before                    Basically           and generally
09l340                                      there           essentially                                                                     095fr40




091342             10        near    Libby                                                                                                  09564210              before       the vermiculite                            can be used               it    must be

                                                                         mountain          that      contains                                                     processed            and           the processing                    means             exfoliatir
091344             11                 Well          theres                                                                                  0919411


                                      deal       of it        It   woulduotbe                 line to say             there                 09093012              material           which               is    done        in   the     expanding                plani
091309             12        good

09035013                     was       mountain                  of vermiculite                                                              l634       13        theyre        so called                 because               when          the vermicuiit


                                       In    with the vermiculite                        are there         some                              30150      14        treated       in an          expanding                   plant        it    increases           in
091350             14


09135415                                                                                                                                                15        considerably                  or        it   expands               which          is not
                             impurities                                                                                                      091704



 0913.54           16                  Yes        sir                                                                                        09-0709    16        technically             true             Technically                  it    exfoliates           bu

                   17                  Is    one of them tremolite                             form of                                                  17        it   increases           in s2e
 0913.50




 091400            18        asbestos                                                                                                        091712     18                     When         it      exfoliates                  does     it
                                                                                                                                                                                                                                               open       up     and

                                                                                                                                                                                    sort    of like popcorn
                   19                  In    the deposit             at    Libby yes thats true                                              091714     19        expand

                   20                  Now Ive seen mention of sizes of plus                                                                  oui 20                           No sir Thats                           the difference                      It
                                                                                                                                                                                                                                                                opens

                   21        eight and           minus           eight     for vermiculite                     What        does               aol 21              uplike-Thethingthatcausesittoexpando
 09141022                    that    mean                                                                                                               22        exfoliate          is    molecular water and                                  in   pages         in


  094I4            23                  That        is        screen        sir and            plus    eight                                             23        which        are made up of                               lot   of sheets               which         is

                                                That              flakes      of vermiculite               that      will       not                     24        vermiculite               is the water between                                those           sheets
                   24        means                          is                                                                                091740



                                                                                                                                                                                      and                                       and           increases           in
                                                                                    screen and                 minus                                                                                      expands
                                                                                                                                                                  to                                                                    it
                   25                 through           an eight-mesh                                                       eight             onao 25                   steam                       it
                             pass


                                                                                                                       Page          14

                             vermiculite               is        size that will pass              through an                                                      in only           one direction rather than                                  overall


                             eight-mesh             screen And                  an eight-mesh screen                        meam                                               And was there                         an     expanding                plant       in Li

                              that there are eight                   meshes        or divisions                in    an inch                                                   Yes sir
                              but that          does        not    mean an eighth               of an          inch                                                            How long was that in operation
                                                       because the inch includes                           the area                                                            Well            it   was         in Libby              when               went     to
                              technically

                                                                                              of the screen                                                  6thereinl948                                Ithadbeenbuiltsomeyearsb
                              which             taken        up by the wires
                                           is                                                                                                  091L06
    09.l450




                                                            What were some of the uses                               for the                                       that             dont know                    exactly          when                   think     dur
    09Ik54                                Okay
                              minus         eight       size       vermiculite                                                                                     the    war years                      And         it
                                                                                                                                                                                                                           operated           until       about

                                                                   were many             uses         The       most                                                           And then the product                                     from the expanc
                                          Well         there

                    10        common             ones        would         be aggregates             of one          sort or                             io        plant what                  did        that       look       like

     oi             11        another           that    went        into concrete             aggregate              and                        oolfl    11                           MR MURPHY                             Objection               to the       forn

                                                                                                           which           became                        12                           THE WiTNESS                            Well              cant describi
                    12        insulating concrete                        plaster aggregate

                    13        one of the ingredients                          of plasters         acoustical                                             13        what        it   looked like                      It    looked            hke               dont

                        14    plaster        and general              plaster           and    some        of   it    was       used             i14               how         to describeit


                        is    in    agricultural              uses       as     carrier for various                                                          15    BY     MR HEBERLING
      o.isio            16    chemicals             and for block                fill    where       it   would         be                                   16                 What           color           was it

                        17    coated         with            waterproofing               material          so that         it                                17                 Golden               color basically                          and    it    was ver

                        18    would          not absorb             moisture            and    would be used                    to     fill                  18        light    and       it    looked like                       piece        of    golden fla

                              the     cavities          in concrete            blocks         that    were used for                                          19        which        were fastened                         together
          001356        19


                        20        building                               Those      are some              of the things                it                    20                 And         the          raw ore when                     it   was        shipped
          09155                                  purposes
          09990921                would      have       been        used for                                                                       i21                 what     did    it      look           like

          010422                            How         about       the plus        eight      vermiculite                                         oio22                        Itwasgenerallyadarkgieenoradnrl

          091006        23                  Basically              the largest use             of plus          eight                                        23        brown color and                          it   was        in     flakes        of various


                        24        vermiculite           was used for                    loose-fill         insulating                                        24        depending               on the size of the ore and again
          001014


                                                  and                                                                                                                  hard to describe                        but          cant say that                        looke
                        25        material                   that    is    material        that      was poured                                              25                                                                                            it




          Page               13    -Page 16                                                                                                            IJIEDMAN                           ASA REPORTING                                                  40675
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                    like   sand       because          the        makeup            of it        is that       the                             2I.S                can
                    circumference                of   these        flakes       would be                    larger    thanª                                                            THE WiTNESS                   idontknow                 when         it



                    the    thirknessofthern                                                                                                                        was       first      known but whn                          went      to   work          there        it



                               Andinthel9l0scanyousayhowrnany                                                                                                      was generally                   known        that there        was         asbestos           in that

                    expanding            plants        Grace         had                                                                                             deposit           because you could                  see it and                   ould say

0921956                        No              dot         remember for sure                                                                   to                    that    all   employees                knew       that there        was         asbestos

Q9I9                           Wasitabout2oormorethan2Odoyou                                                                                                         present
                    think                                                                                                                                            BY MR UBBERLING
O9O4                                would estimate that                        in the            lOs        there                                                              Do you              have      any personal             knowledge              that

o2a            10   were     probably            between             20      and         30     that     Grace        owned                                10        each     employee               knew that
0992U          11              What         were       the        sources           for       vermiculite             in                                   11                  No              cant       say    what         each employee                 knew
ou             12   the    United          States                                                                                              vl2                                Thenyousayyoucouldseeitinthe
09I6           13              Well            the    two        principal           sources                 but                                           13        deposit            When         you saw           the asbestos             what         did    it



0992a          14   this is    not exclusive                       is          Ihe        largest           source                                         14        look like in the raw ore in the deposit

o92U           15   was from the Libby operation                                         and       Grace       had another                                 15                     It   looked like gray rock

09 16 mine in South Carolina                                            and     there           were           few other                                   16                     And what            did     the vermiculite                 or the other

               17   smaller producers                      primarily            in the             Carolinas and                               cwiol7                oru look like

34 18 Virginia                                                                                                                                             18                     It   looked like dark                 green     or     brown rock
                               So did Grace                  own the two largest                              sources                                      19                     So the asbestos                was      gray        and the others

os 20                          Yessir                                                                                                                      20        were green               or   brown           Is    that    fair

09202          21              Now             when        you went to work                            in    1948         at                               21                     Well        varied         colors       depending             on the

aso            22   Zonolite             did    yoU know                that    it       was dusty             at the          mine                        22        There         were many                other products             in there         other       than

ooso           23   and      at the      mill                                                                                                              23        asbestos           and vermiculite                  and     the colors           varied

osi 24                         After           Pd been            there        yes sir                 knew                                                24                      And was the asbestos                        an impurity             in the

 e25                that                                                                                                                                   25        ore which               the   company tried to get                       out
                                                                                                                                 Page     18                                                                                                                     Page         20

                                Were you concerned                             even           in    1948       regarding                                                    AYessir
                     dust as             possible health                 hazard                                                                                                    What       was     the               of percentage           of
                                                                                                                                               09Z3116                                                       range

                                Yessir                                                                                                                                tremolite         asbestos        in the     ore    at   Libby while you
 0909                           Is    it   correct          that     from 1948                   on you knew                                   0922334                were     there

 09221110            and     the    company            always              knew           that      there      was              serious         ana                                      MR GRAHAM                 Objection             Vague        and

                                                                                                    amount of dust                                                                                               upon what constitutes
 09.2120             health problem                  because            of    the        large                                                                        ambiguous               depending                                                 ore

                     concentrated               there                                                                                                                                    THE WITNESS                   dont know what that

 0921220                                 MR GRAHAM                       Objection                     Calls        for                         oc.no                 question          means         because           dont know what you mean

 0922220             speculation and                  to    form                                                                                094O                  by    the    word        Ore
 09222         10               Go ahead                                                                                                        o2nio         10      BY MR HEBERLING
 0921fl        11                        THE WiTNESS                       Well          it    was       certainly                              ol1                                Okay            Intennsoftbeorecorningintothe
  o-iia        12    known          in     some areas              there       were            large      concentrations                                      12      dry mill have                you testified about              what percentage

  09221r30     13    of    dust and its certainly                            common knowledge                                  that                           13      tremolite          asbestos         was    in that       ore in the       past
  09221314           too     much dust of any kind                             is    not           healthy                                                    14                   Probably

  09.212I      15    situation                                                                                                                  ol5                                Whatisyourbestestinrateofthe

  090 16             BY MR REBERLING                                                                                                                            16    percentage             asbestos        in the     ore    coming         into    the    dry

  09.2149      17               And         did you              share       that        concern            even      as                        09a0017               mill

  0922J40      18    early     as     1948                                                                                                       09124-0918                            have     no way of making an estimate

               19               Yessir                                                                                                           0912910119           because           it
                                                                                                                                                                                             depended        upon when            this   was and where                   the


  09214620                      When was                   the     first     time         that      it    was known                              0913910        20    mining           was     actually       occurring          because        various          parts

               21    there     was asbestos in the mine at Libby                                                                                 092241421             of the      mine contained                considerably            more asbestos
          mn22                           MR GRAHAM                         Objection                   Calls for                                 0941$          22     than       others       and on           particular       day or particular
  09215423           speculation                 Beyond            the       scope         of      this     witnesss                             0912912023            time        there      could     be       big    variation        on    the    amount

   091123624         capabilities                                                                                                                oa 24 of                    asbestos         that    was     in the     yard
   0913236     25               Go ahead               and answer                   it    to    the      extent       you                        042025                                Okay        Thats      why         asked       you for the

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                                                                                                                                    Page     21                                                                                                                          Pa

                         range         What would the range                                   be in percentages                                                                             MR LEBRUNG                     Im trying              to


                                      Well thats                       difficult           question                 to                            oi                   discover what               his    position         is


                         answer            but the range could be                                  from zero                  to                                       BY MR HEBERLING

                         Theoretically                                                   could          be up to maybe                                                               Did you give this answer
                                                            suppose                it



09-i446                  30 percent                                                                                                                                                         MR MURPHY Objection to
                                      And        did
                                                          you ever             see         samples                   the                           74                  characterizing          Mr Lovick as having                                 position


                                                                                                         years and did you                                                                  THE WITNESS
                         results       of samples                  taken           over       the                                                  2136                                                                have         every reason               to



                         seeanyashighas30percent                                                                                                   092740              believe          gave       that    answ             and     if
                                                                                                                                                                                                                                             gave       it   it   was

                                       dont know                       that             did             dont know                                  092144              to     the   best     of   my ability          in    making           an estimate                 an

               10                     What         was the highest                         you can             recall
                                                                                                                                you                0927410             as       said    now we had no accurate                            way          of deterniin


               11        saw as              percentage                 asbestos              in    the ore coming                         into    iz11                that


Q9ZQ           12        the     dry mill                                                                                                                      12        BY MR HEBFP.LING

O.jI4          13                      cant answer                       that       question                  because                              -n          13                    What         was    the    approximate               percentage              of

               14        dont know                     Among                 other things                 it    was        very                                14        tremolite          asbestos in the           product            going         out of Libb

               15        difficult          to    determine by looking                                   at    it    what                          oo15                  in   1948

               16        percentage               it   would be                so its not possible                                 for   me                    16                           MR MURPHY                 Could you read that

Ci326          17        to     answer the question                                                                                                            17        back       please

oo             18                     Were samples                       taken            and was the percentage                                               18                           fliereporterthenreadbackthe

               19        tremolite           analyzed at times                                                                                                 19        preceding          question

 oa32O                                Of what                                                                                                                  20                           ThE WiTNESS                    cant give            an answer

               21                                                 of the ore coming                            into the                                        21        to   that     because            dont       recall              dont think               that
                                      Percentage

               22        miii                                                                                                                                  22        we ever knew

 oc 23                                Not really because we had no way of                                                                                      23        BY    MR HEBERLING
 o9no 24                 testingthatnoeasywayoftestingthat                                                                    Wehad                 o-o 24                           Can you say what                  it    was        in the     earliest


                                                                                                                                                                                     say the                   SOs
 ois-a         25        no      accurate          way of testing that                                                                              023225               years                     early



                                                                                                                                     Page 22

  092750                              Have you testified                       in the         past       that       the                                                              No           cant         say    what         it   was            Our

                                      of tremolite               asbestos           in the         ore    was between                                                    estimates                believe            would be probably                            less    ti
  09-22-51
                         range

  09-2526                      and    20     percent                                                                                                09-2640              one percent

  025                                      dont know                    Possibly                                                                    092626                           From the sama                    deposition                page         19        the


  092626                              Im now showing                          you          deposition                                               092626                question           is    How         much         asbestos            or tremolite

                          Plaza       600                                                  Wit Grace Do you see                                                          the concentrate                  when        it   was          ready      to    be shipp
  09-525                                         Corporation                 versus                                                                 09-2626




  09-29-34                the    question           How much tremolite as you understand                                                            0926                  1948          Andifyouwanttodoitaccordingto

  09-29-30                it    is   found        when           the   vermiculite                 is   being        mined                           092606               five      grades         feel    free to          do that

                                       Answer               It    varies       in the         area       of the          mine                        092626                            Answer                  cant        state        definitely            but an
  0929-40




                10        where        the    mining             activity          is    taking         place            and       the               092610     10        estimate           would        have        been              Tn   1948         the       amo

  0929-4611               variation          can       be    quite       high           from probably                     less      than             09-3034    11        concentrate              would have               varied           in    some grade
                                                                         much as 20                                      in     some                            12        possibly           two or three percent                         to under           one pe
                12             percent       to    maybe           as                                   percent

                                                                                                                                                                                                                                                                  time
    SO          13        areas                                                                                                                                 13                     Is   that the           answer        you gave              at    the


                14                     Were        you       asked           that       question              and        did you                      09-292614                              MR GRAHAM                       Go ahead                   Review            ii




    59-2634     15        give       that    answer                                                                                                   59-264015           you wish Earl

    00-39-5616                              have       every       reason           --                                                                00-262616                              THE WiTNESS                     Yes          In      answer to

    09265617                                  MR GRAHAM                            would           object           on    the                          00-264017            question          undoubtedly                   this        is the     answer

    00272618              basis       its an attempt                    to    impeach                   witness on                                     00262618             that    time and               have       no      reason         to        dispute         iti



    092704          19    totally       different            question than                 was asked                 at    the                         09-262519            BY Mit HEBERLING

                20         time            asked                                                                                                       00260420                        And        its                 consistent               with       what           yc
                                                       preceding              the        attempt to            impeach                                                                                    fairly


                21         because          the    question             initially          asked          was what                 the                 09-265421            told     me as well                correct

     09-2114    22         ore       concentration                or         the        concentration of                                                          22                   Yes

                    23     tremolite          in    the     ore going               into                dry mill was                                                23                 Sothereweresometimeswhenitwas

                    24     and       this talks         about          the     ore in the               mine                                                        24      little     as    one percent correct

     0027425                           But        go    ahead                                                                                           oo25                                  MR GRAHAM                      id object                  It




    Page             21         -Page 24                                                                                                                  HEDMAN                              ASA REPORTING                                            40675
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EARL                     LOVIC                     VOL                                                               CondenseIt                                     flURLBERT                    VS W.L GRACE
                                                                                                                   Page 25                                                                                               Page 27
                 nuscharacterizes                  the   witnesss            testimony                                                      the asbestos         tended     to deflbeiize             if
                                                                                                                                                                                                           you will and
                 BY MR HEBERJJNG                                                                                                            the small                       would become               fibers
                                                                                                                                                            particles                                              and    become
                            lien as of 1983                      when                                 from
                                                                             you retired                                                    airborne       more so than the other materials                          which
                 Zonolite         what percentage                  of    tiemolite                             was
                                                                                              asbestos                                      were foundin            themilifeed
                 tle in the product                      shipped         out of libby as                  of      83         oc             BY MR HEBERLIN3
                            Well         to the      best of       my recollection                                                                  Sowoulditbcfairtosaythatthe
                 Again          this    would        depend        on     the                   which means
                                                                                    grade                                                   Iremolite      more readily generated                     dust    than       some of
                 the sim of the
                                concentrates                            but     it   would be well                           W3             the other kinds          of ore
LI934            under one percent
                                                                                                                                                   Yes sir that is fair to say
            10              So did          the
                                                   company             get better        at    removing                               10           And was it your understanding                              that the
-joo        Ii   the asbestos                              from the vermiculite
                                         impurity                                                                                     Ii    operators       could     see the difference               in the ore in the
i12                        Yessir                                                                                                     12    dry mill as it was             coming         in whether          it   had      high
            13             Were          they ever          able to remove                      all
                                                                                          it                                          13    percentage        asbestos       or    not
o14                        Nosir                                                                                             14                     Yes sir
            15             What was                your     understanding                of     the                          15                    Whatdidtheasbestosdustintbedrynijll
O54 16           approximate                                                                   dust in                                             like       What
                                            percentage          asbestos            in the                     the                    16    look                        color       was it
G9Tht       17   air    in the    dry mill in the                SOs and              60s        Again                       ce       17           fl asbestos              dust        all   dusts were
O9M 18 you               can     answer with                                                                                                                          and
                                                               range                                                                  18    extremely        fine            it    would be        too fine        to identify
ii 19                             ML MURPHY                     Objection               Vague         and                    o19              color

.31iO       20   ambiguous              and nonspecific                                                                               20            Wbenyousawapileofdustontlfloor
3i.u 21                           THE        wrrrnss             Mayl hear the                  question                     o21 what color was that pile
            22   again please
-.3I14
                                                                                                                                      22                   MIt     MURPHY           Objection              Vague and
O9-MI6      23                     MR HEBERLING                        lo ahead                                                       23    ambiguous              Nonspecific           as to    time
            24                     fl         reporter          then     read back             the                                    24                   THE WITNESS                   cant answer           that

            25   preceding         question                                                                                           25                         dont know
                                                                                                                                            question


                                                                                                                   Page 26                                                                                                Page     28
                                  THE        WiTNESS             There         was no way to                                 oi             BY MR HEBERLING-
O93L36           accurately            determine           what percentage                   of the       dust       in
                                                                                                                                                      Diditvaxyincolof
O9-C             the mill was               asbestos       and what percentage                        was         other                               Oh yes
4.314            materials             There       were various attempts made                                to              -345o                    It   wasnt always                 light    color
                 determine
09-JL54                            that        and as           recall       the     tests     which came                                             No
                 bacic     it    was estimated              that       the     dust would                         from                                Was
                                                                                                      vaxy                                                    it   sometimes              dark color
                      percentage            asbestos       of    maybe                  or six percent
    .32l4                                                                       five                                         t34S4                    Yes     sir

O9j6             andTherewsonetestIiJwIjt                                                                                                             What year did W.R                       Grace    close       in Libby
                 estimated               be 40 percent
                                   to                                                                                                                 1990
            10   BY MR HEBERLING                                                                                                      10              And why was that
            11              Okay             Soiftheasbestoswassayfive                                                       5O4 11                        MR GRAHAM                    Objection          Calls     for
2n 12 percent                   or thereabouts              in the       raw ore why would                           it      O4       12    speculation
Th36        13   be     20 or even           40 percent           asbestos            in the     dust        in the          j3       13    BY MIt HBBERLING
            14          in the dry          mill
                 air
                                                                                                                             3dO      14              Have       you discussed             with    Mr Walter or
Th4Q        15                     MR MURPHY                     Objection              Vague          and                   35i4 15        Mr McKay reasons                      for   closing
-.34s       16   ambiguous                                                                                                   522       16             WeBthereasonsforclosingisthatthe
            17                    THE wrnnss                     There         is      reason         for                              17   markets didnt justify
                                                                                                                             O93324
                                                                                                                                                                                    continuing         that    operation
            18            and     that      is that
                 that                                    the    asbestos             in the     ore is                       .js.34    18             And was Scotts Lawn                        Fertilizer        the Scott
            19   all    forms of asbestos                  some of it in rather                      large                             19   Company                major customer               of Zonolite
o20              chunks          Inthedrymfflthedstintheairisvey                                                                      20                    MR GRAHAM                   Objection          Vague as to
            21   fine    particles           and     the    nature of           the    asbestos           is                 21             time
            22   in    the processing              and concentration of the                                                  O9t-4    22                    THE WITNESS                 At one time they were
            23   material              In    the    dry mill this              was done              by                               23    yes    sir
            24                    and screening
                 crushing                                       and      the    very nature of the                                    24    BY MR HEBERLING
            25   asbestos        was that           when         this    material           is crushed                                                Would
                                                                                                                             a5-o 25                                that   have     been       in the      70s and         early

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                                                                                                                       Page 29
                                                                                                                                                                                                                                                Idont
oso                              80s                                                                                                                                             Idotlmowthatthatstrue

                                           No sir        Not      in the early              80s          Prior      to                                          know
                                                                                                                                                                                 Is   it    the that         the   concentrated                     product
                                 that

                                                                                                                                                                                                                   had
                                           Okay And did                                                                                                                                                                                 asbestos                    than
                                                                                     pull out                                                                   delivered              to       customers                    less                         in   it
0939-00
                                                                        Scott

                                           Idontknowwhatthattneans                                                                                              the        ore    that      the    workers            in     Libby were               working
0939-00




                                           Did Scott no longer send orders                                  into                                                with
0939-00




0939-00                          Zonolite        for vermiculite                                                                     003134                                            MR GRAHAM                      Objection                 Its vague


                                      AYesSir                                                                                        09.33                          and     ambiguous               as to The ore that                        the    Libby worke
00-3630




                                           Whats your understanding of the reason                                                    00..40                         wore     working              with
093012



                       10        for that                                                                                            jt.@10                                            WE WIThESS                          dont          really      know
                                                                                                                                                                                                                                               amount of asbc
09-39-14               11                   dont know                what      the reason               was                                               11        what     your question means
                                                                                                                                                                                                                             but        the


                                                                                        do with asbestos                             0933212                        that    was       in the        concentrate              that       was shipped                 was
09-39-11               12                  Didithave            anythingto
                                                                                                                                                                                       less       than    what was contained                           in the       mill
09.39-lI               13                  Idont know                                                                                0999-5613                      certainly


0930                   14                        MR GRAHAM                    Objection                 Asked and                    09.a14                         feed


                       15        answered                                                                                            oo- 15 BY MR HEBERLING
                                                                                                                                                                                 Can you say bow many tons of ore were
 Q9-3                  16        BY MR HEBERLING                                                                                      09-390616



                                                                                                                                                                    mined per day                               SOs
                       17                  Now was one reason that Zonolite                                        closed                                 17                                        in the



                       18        the asbestos           contamination                in the        product                            0939.10             18                     No             Idont        recall



                       19                        MR GRAHAM Objection                                    Foundation                    0039219                                     Orthe60s

                                 Calls for speculation                                                                                093014              20                      Idont            recall
                       20

 oo-o                  21                        THE WiTNESS                  Yes       sir             dont                          0999-1621                                   Ortbe70s

                       22        keow                                                                                                 099916              22                      Idont            recalL
  09-3104




                        23       BY     MR HEBERLING                                                                                                      23                      Im now showing                        you your deposition take

  oo3.o                 24                 Im showing                you           copy      of your deposition                       ic 24 December                                        20 1983

                                                                                    1992 and theres                                                                                        MR MURPHY                    Almost exactly                     thirteen
  09-31.14              25        which     was        taken    May 27                                                                                    25


                                                                                                                         Page   30

                                                 Do you know why the                      market         was gone                                                    years        ago           to the    day
   09-3716                        queStlin

                                            Answer         Well             think    of number of                                                                    BY MR HEBERUNG

                                                 and one of them would                    have      been        asbestos                                                          Is       it    fair   to    say your recollection                                 may
                                  reasons
                                                                                                                                                                     havebeenalittlecleareriLn                                          1983         astowhat
                                  contamination           or believed          to    have        been    asbestos


                                  contamination           although           the    company             had   pretty     much                                        done         in the          1950s and                60s
                                                                                       of the customers                  were                                                         Yes         sir    That would                     be          fair    stateme
    oo-m                          solved    that    problem but many
                                                                                                                                                                                                        Did you give                    the    answer               The
                                  afraid    of   the    product                                                                                                                       Okay

                                            Did you give             that    answer                                                                                  quantity               of material               moved

     09913                                         MR MURPHY                 Objection             Improper                                                                                 MR GRAHAM                              would            object


     09-31-00               10     attempt at      impeachment                 Nothing           inconsistent          in the                                  10    Improper impeachment                                          If    youre going to
                                                                                                                                                               11    lets         read           the questions
     09-370611                     answers       previously        given

      09-3730               12                     THE WrrNESS               Its     stated       in the                                                       12                               MR HEBERLING                            Okay           Ill go         bac


      09-373213                    deposition            have     every       reason        to    believe       that                                           13                               MR MURPHY                     If youre trying                        to


      09-373614                    would     have      given    it    and     that    would have              been       my                                    14     refresh              his    recollection                you could ask him
                                                                       time                                                                                    is     something and see                            if   it    refreshes              his recollec
                            15     understanding          at that

                                                                                                                                                                      and        ask him the question                               again            if   thats       wh
      09-300616                    BY    MR HEBERLING                                                                                                          16


          09300017                          Sothecustomerswereafraidoftbe                                                                  o3017 youre liyingto                                               do

          09.39-       Ia   18     concentrated          product        the product              that    was     delivered                                     18                               MR HEBERLNG                             Okay

          0939-12           19     to   them                                                                                                oo.o               19     BY MR IEBERLING

            59-3014         20                     MR GRAHAM                  Same objection                                                                   20                     Ill read           the question                    to you            How in
                                                         Calls for speculation                                                                                 21     mines            have there been                        at    the       Libby        facility
            59-33621                  Foundation

            09-39-lI        22                     MR MURPHY                  And     misstates           his                                   oou22 years

              o.u23                                                                                                                             0940.32         23                     One
                                      testimony

              ozs 24                  BY MR HEBERLING                                                                                           09093424                               What sim mine                         is    it

              25                             Go ahead                                                                                                           25                              physical       sine or quantity                           sine


          Page                   29      Page      32                                                                                             HEDMAN                                         ASA REPORTING                                             4O67
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                           Question               Both                                                                                                     been     in the early                SOs he moved back                          to    Chicago
                                                             believe           the    mine area                                                            where         he became                                 of Zoi ohm
094949                          physically                                                                    is
                                                                                                                                                                                                president                                   Company
                                            400 acres
094444           approximately                                      The quantity of material                                                                          Okay And                   so   did    he become                president             in

094444           moved      has varied              over the period                  but      it   has been              as                                about      1954
094459           high as approximately                     25000              tons          day                                         09Q34                         It    was the arly                SOs About 1954                           could

                           Question When                      did        it   reach     the        peak       of                                           be correct                dont know                exactly                tle exact             date
594456           25000      tons          day during what period                                                                        0940                          Okay           Having           reviewed             this managers                       time
                           Answer              In    the    1970s                                                                                          line    have                   found               places            where       we were
                                                                                                                                                                              you                     any
09400                      How        much v.e you turning                              out during                                      094                incorrect         in putting              this    together
          10     the    Jetssay             1950to           1960
094I04
                                                                          onaverageperday                                               4944         10               Well youve                     got here        Myers Keilcy
          11               Answer              This       isaroughestimatebutl                                                                             Sterrett        and      Vining on the top line and                                  over on the
4109      12     would      think     probably             15000              tons                                                      09C59        12    side    youve                   Walsh Vining and                          Wolter            There
                                                                                                                                                                                    got

oujo      13               How        about         in the     1960s                                                                    09.4k09      13    were            couple         of    other       names         in them          that      are

          14               About         the      same                                                                                  494444       14    missing that              at   various           times        they     were responsible
494114    15               Were       those         the    answers            you gave             at   the                                                for the         Libby      operation

          16     time                                                                                                                   494k09       16               And on the Kostic thing from                                      1963         to

          17
4941.14                    Apparently                yes                                                                                49401217           1980          the safety            supervisor that                  is   incorrect

i.i 18                     And       does      that       refiesh        your        recollection              as                       49441618           because in the early 1970s the safety                                           supervisor             was
a19              to    what the quantities                 were                                                                         494O         19    Hany Esehenbach
09414     20               WeUIcantsaythatitdoesbutifl                                                                                               20               Then          did    Mr Kostic               remain with W.R                             Grace

                 gave     those      answers          at that       time it must have                         been                                   21    until      about         1980
          22     my belief        that      thats            that     they were              correct                                                 22               He remained                    with    W.R           Grace                 dont know
          23               Im now showing                      you Exhibit                         which           is                                23    when he left but 1980 would probably be close
09415424                        Managers              Tune        Line                                                                               24                                                              was        hem         after
                 titled                                                              sent           copy to                                                           Okay.Wtposition
4941125          counsel        an    advanced             copy           Have you had                        chance          to                     25    Mr Eschenbach                        took the safety                 supervisor             position

                                                                                                                        Page       34                                                                                                                     Page        36
                 review     this                                                                                                                                      Hewasstillasafetyengineeroutofthe

                           Yes sir                have     seen       this                                                                                 Cambridge office                     in   our division office

                           We put this together                       based          on answers                                                                          But Mr           Escbenbach          was         his    superior        from

                 earlierbutwewanttogetitcorrectandsoif                                                                                                     early7Oson
                 The purpose                                                                       who was
                                                                              you know                                                                           AYessir.Ibelieveso
                                       is    to                                                                          in
                                                    determine

14               what position              over     the     years            and having            reviewed                              494514                         Canyon sayafter                    1968         whotheLibbyplant
                 itdoyouhaveanyconectionstomake                                                         Doesit                            494516           manager reported to                        We have            Vining       there       up      until


                 appear     correct                                                                                                       494514            about        71        Do you happen              to     know who it was                      in   the

                           Well No                    where         it
                                                                          says       Back           east                                   494414           70s
            10   Supervisor          who the          plant manager                    reports          to                                            10                 Well       the    chain      of    command was                   that


            11   dont know what that means                                                                                                            11    reported         to    0.F Stewart              who     was in South                 Carolina

            12              Okay          You have                  plant manager                   in    Libby                                       12    who in turn              reported to            HA Brown who was
            13   who is the head               of operations there correct                                                                            13    vice-president            of our division                    and               after
                                                                                                                                                                                                                                 then
            14             Yes                                                                                                             49495614         HA Brown                 there       were        couple         of    other     people
49454015                    And then were                    looking           for the        person           who                         49400      15    One of thems                  name was Tom                   Lyall       and    another            one

ooc         16   the    plant     manager reports                   to                                                                     494904     16    was E.S          Wood              but    cant        tell
                                                                                                                                                                                                                          you the dates              that

494944      17              Okay                                                                                                           094409     17    they were             there

            18              Sowouldithavebeen                                 Mr Myersup                  until                            49499      18                 Sointhel9losdidtheLibbyplant
09-494419        1954                                                                                                                       494614    19    manager report                to    Mr Stewart                generally

o9c54     20                Yessir                                                                                                          09641620                     Yes
                            NowwasMr                       Myers inLibbyforaperiod                                                                                       And how long was he                        with             How long was
0943%     22     of time     when         you were            first       there       in the        early          SOs                                22    be    in that         position       Mr Stewart                up    until      the time

49490623                    Yes       WhenlNo                            Whenlcaxneinl948                                                   49442423        you     retired

 09-05924        Mr Myers was in Libby                              and he           left   some time                   after               24                           No Ithinkwhenl-Ithinkhewas                                              out

 09491225        that      Idontknowwhen                              Ithinkitwouldbave                                                     25              of    that     position        before Iretired


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                            Okay          Then         in the       Libby       section         of     this                                                Go ahead            and        answer        to the extent
                                                                                                                                                                                                                                       you
                 time line do you have                                                            make
                                                              any corrections               to                                                  can
                            I1 only thing                   that        see here      that                                                                       THE WiTNESS                    Well          of course             Im
                 would       question               And            cant       see anything                 that             09-3536             concerned             about       when any of my friends                               die
                 recall     as basically               wrong on            the positions               above                093540
                                                                                                                                                reason so in that respect the answer                                        would            be
                 that     but      the construction                 supervisor             Don Riley                                            Yes
o9ri             from       1968     on that           is   incorrect                                                       oc                  BY MR HEBERLING
                            Now         he would            have          Lets        see       He                                                         In    about        1983        did    you collect                death

                 stopped        working          in          Didnt he           stop in about                 1986                              certificates           for ex-workers                  from        Zonolite            at    ti




         10                   dont know                      was        gone but            think                                         10    request         of W.R          Grace
i11              thats      about       right       but prior to him was                        amanby                                    11               Well yes                 did          did       collect          death

         12      the    name of Tom                 DeShar               who     is   actually                                            12    certificates           of     ex-workers

oo 13 construction                        supervisor and                      dont remember                                 o13                            Andwhatisyourundcrstandingofwh
         14      recall     what      date      Don         Riley       took over but                 it   wasnt            14                  mesothelionlais

otis 15          in    68                                                                                                                 15               Its         rare     form of cancer

o16                         Youthink            itwas later                                                                 D93414        16               Are you            aware that its                 virtually           always
         17                 Yes                                                                                                           17    related        to asbestos           exposure
         18                 Okay          And thats                the only      correction                that                           18                     MR MURPHY                      Objection               to the        form
0949-4   19      youre       offering          for the        Libby       section          of   the                                       19                     THE WITNESS                    As         understand
io 20 managers                       time line                                                                                            20    asbestos         is   usually         attributed to                be          cause of
         21                 Ithinksoyes                                                                                                   21    inesothelioma

oo-uit   22                        THE WrFNESS                      wonder       if   it   would            be                            22    BY MR HEBERLING
io 23 possible to have                              short      break                                                                      23               Do you know                    workers who                   have      died

on24                               MR HEBERLINCI                        Sure                                                -34J4         24    mesothelioma
99-403425                          THE VIDHOGRAPHER                            Wre going                   off                            25               Yes sir

                                                                                                           Page 38
                 the record             Its    approximately                   948                                                                         Can you give us some names

                                   Brief recess                                                                                                            McNair             Olson       Baker
593532                             THE VIDEOGRAPHER              Okay Were                                   back                                          Is that       Virgil      Olson       or    Vergel
9-3532           on the record                Its     approximately 952                                                                                    Verle         V-E-R-L-E

593532           BY MR HEBERLING                                                                                                                           And Morland Baker
93532                       What        is your        understanding                 of what                                                               Yes sir            McNair         Michael           MeNair
9-3234           asbestosis         is                                                                                                          believe        was    his     name        and    those       axe    the     three      that


                            My understanding                       is   its      disease         of the                     Si2                 come      to    mind Theres                at   least      one      other       that    --



D.4O             lungs                                                                                                                                     Is there         Clarence        Peterson          also
            10              And      to      your knowledge                   have    ex-workers                  at                      10               Yes sir            Clarence       Peterson

            ii   Zonolite          died      of asbestosis                                                                                11               And was there                  an Ernest Roberts                    who died
            12              Well        to    my knowledge                    ex-workers of                                               12    of niesothelioma               who is not              worker at W.R                    Gr

            13   Zonolite          who have            died one of the causes                          of death                           13               Yes sir            To    my understanding                      he    was
14               isasbestosis                 Idontrecall                whether       anyof                                              14    Libby      resident           and    he died of mesotheioma                             but

            15   them           their     death       certificate          stated that           that        was                                bad   never been              an employee             of
                                                                                                                                           IS                                                              Grace
            16   the      primary cause               but     it   would        have       been        one of the           o16                            Doyouknowifheliveddownnearthc
            17   contributing             factors                                                                                          17   railroad        tracks      and     the    bridge       on    the       edge     of    to
            18              Were some of                these        people      friends of                                                18              To     my knowledge                  and memory be did                       not

            19   yours                                                                                                                55lO19    liveinthatarcano
091194      20              Yes      sir                                                                                     os20                          Doyouknowifhewasexposedasachild
093316      21              And      does       the    number of them with                                                                21    playing         on    piles    of the      ore near        the      baseball

09351122         asbestosis          as        cause        of death          concern           you                          09-35422           fields

            23                     MR GRAHAM                        would       object          on the                                                     Iwouldhavenoideaaboutthat                                           Idont
            24   basis      that    its       irrelevant           and immaterial                to    the                                 24   know
            25    issues of        this      lawsuit         and     prejudicial                                                           25              Do you know                what       his                        was
                                                                                                                                                                                                        exposure

Page          37-Page 40                                                                                                       BEDMAN                                ASA REPORTENG                                        4O675
                          Case 01-01139-AMC                                      Doc 22814-30                              Filed 08/14/09                                        Page 12 of 25
EARL                   LOVICK            VOL                                                       CondenseIt                                                        HURLBERT VS W.R GRACE
                                                                                               Page 41                                                                                                                             Page       43

                          No sir                                                                                                 happened

5.56                      And did Dale Thompson                         also     die of                                                        Well Zonolite became                                   part    of    W.R      Grace

                 inesotholloina                                                                                                  by an exchange                       of stock           of Zonolite              Company         stock

O93OZ                     Idontknow                                                                                              forW.R              Graccstock

5O4                       How about Ed Wittlake                                                                                                Is   it    fair to          say    tbatW.R              Grace        acquired

                          Idontlcnow                Iknowbothoftlemare                                                           Zonolite

                 dead but         dont know              what       tho causes          of    their                .u                                MR GRAHAM                           Objection            Foundation

                 death    were                                                                                                                       THE WITNESS                         It would        have       been

0a312                     In    1948    who was responsible                      for    worker                     a4            inager             and          dont know                 if thats          an    acquisition         or

09-3H      10    safety                                                                                                              not        suppose              it    is because           W.R          Grace     was the

O9-.56I    11             Well     in    1948       tlegenerahnanagerwould                                                 11        larger    of    the    two
           12    have    been    responsible                                                                       -a      12        BY MIt EEBERLING

9$62l      13             What     is   your understanding                    of what         an                   13                           Before           1963           do you recall           consulting           with

           14    Industrial      hygienist          is                                                                     14        an    industrial           hygienist             ever

ii 15                     Well     an industrial               hygienist       would         be one                        15                       dont         recall          of it   happening                no sir
           16    who      expect would be an                    expert      in industrial                                  16                   Inthe           l950sandupto                         1963whowas
           17    hygiene                                                                                           34      17        responsible           for        dust       control        at   Zoolltc

           18             Isthere.suchathingasanindustrial                                                                 18                   The gencralmanageratLibbywouldhave

a346       19    hygiene engineer                                                                                  S9 19 been responsible
           20             Idontknow                                                                                        20                   Wasthereanengineerwhohad

D9$921                    Do you know               what       is   included        within         the             o21               responsibility                  for    that      or   wasit just under                 the

           22    area    of industrial         hygiene                                                                     22        general        responsibility                 of the       general           manager

aa 23                     WellIwouldthinkthebroaddefinition                                                                23                   Well            it   would have             been       under         the general

           24    would be any malady                     or    any disease        which         was                        24        responsibility                  of the       general manager                   but    the


           25    industrially          caused                                                                              25         general                              certainly        could       have        assigned
                                                                                                                                                    manager


                                                                                                   Page 42                                                                                                                              Page      44

c.mIo                     And would that                 also    include         dust control                                         somebody             to    be responsible

0957lG           and     ventilation                                                                                                              To your knowledge did                               that    happen        in    the

 09.57IG                       dont know what                  that   has           dont know                                         1950supto                  1963
 O7I8            whatInthatsenselwouldsayNo                                                                                                       Yes sir                   think        that    those       duties    would

 o9Th24                   Did you ever have                    an industrial           hygienist                                      have     been        given           to   one      of the         probably           the    chief

                 at   Zonolite     while you were there                                                                               engineerat            Libby                One of them             that      would         have had

 09-ma                 AN0sir                                                                                                         that    responsibility                    in that     period       would         have       been

 09-37                    Did you ever consult                      with      one                                                     Ray Kujawa
 09-16                    Well          dont know               what     that    means         either                                               Okay             Lets begin             with Exhibit              12    in    the

            10   but both Peter Koslic and                      Hariy Eschenbach                                            10        green book                in front          of you          Does       that    appear       to    be

            ii   believe        would be           industrial         hygienists         and       they                     11             mamo          from        IA Kelley              to       Mr Friddle            Stewart          and

  i154 12         came    to    Libby        and    visited         our operation             and we               i12 Williams                            dated April 22                   1952
  M.34      13    consulted       with them of course                                                                                               Yes sir                     would                             what it
                                                                                                                            13                                                             say thats

  7$6 14                   AndsoMr.Koslicwouldhavecomeonboard14                                                                        appears        to    be

            15    for Zonolite          in   1963     when Grace               acquired         Zonolite           ica          15                  Now who was Mr Kelley                                     in    1952
  O4 16                          MR MURPHY                    Objection        to the        form                  ieiis        16                  In    1952             as     recall        JA Kelley             was the

  O9L-6     17                   MR GRAHAM                      would            Yeah                                           17     general manager                      of the       South        Carolina        operation

            18                   TIIL    WITNESS               He would          have        come on                l8                              Okay              Wasbehigherupinthecompany

  O92 19          board    after         He worked              for the division              of which                          19        than the Libby plant                      manager

  O9.i6     20    the Zonolite          operation         was          part    of and         he would                          20                       dont know

            21    have    been          become involved                  after    W.R         Grace         tool    ooi 21                          And who are Mr Friddle                                   Stewart        and

            22    over                                                                                              im22 Williams
  O.14      23    BY MR HEBERLING                                                                                               23                  The only one                   that         have     knowledge of

  O9 24                    Did     W.R        Grace       acquire        Zonolite              You         say      i24 wouldbeO.F.Stewartandhewasatthc
            25    they    took over           What        is   your understanding                     of   what                 25        South     Carolina               operation            and     it   is
                                                                                                                                                                                                                   possible            But

  HEDMAN                        ASA REPORTING                                  406752-5751                                                                                                                          Page4l             -Page 44
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                                                                                                                   Page 45
                   Idontknowthisforsure                                    Itispossiblethatat                                  II2                      AnddoesitappearthatMr.Myesisin
O12                that    time         Mr Kelley was                      vice-president           of                         is             Libby Do you see Libby next to Mr Myerss
                   Zonolite           Company             and    Mr Stewart                could        have      been         I.u                      Yessir
                   responsible            for     the    South        Carolina          operation                              In                       Who was Mr Huxley
                   dont remember when                          that    change          took    place          but    it                                 Mr Huxley was an engineer                             that   was
                   couldhavebeeninl952orpriortothatalittk                                                                      1Or34          employed         at   Libby        and     later   on he was           transferrei

                   bit    prior                                                                                                -.             to    Chicago         He was the engineer                    that    was   in charg

toio                             Do you think you saw                            copy     of   this     memo                                  of expanding           plants       design        and         particularly
4O                 in    1952                                                                                                  --             rather    than     operation

         10                      No sir           To my recollection                    Ive never                              trt54     10             Didyousayhewasaininingengineer
         11        seen     this      before right           now                                                                         11             No Isaidhawasanengineer
os12                             lnl952didyougetanydirectivesfrom                                                              16        12             Do you know               what     kind of          engineer
         13        the                                                                  has got               be done
                          company          as     to    dust     Something                              to                               13             NosirIdont                      Hewasagraduateof
         14        now                                                                                                         IOz       14   the    Montana         School       of Mines        but             dont   know
         15                      Notthatlrecallno                          sir                                                           15                                              would have
IOcO25                                                                                                                                        his   engineer        designation                                   been
l4 16                            Do you recall               efforts       in    1952     to   reduce                                    16             Okay          Did you see          this   memo             in Libby     at

IO6 17         the        amount of dust at the operation                               in     Libby                           iooii17        or about     its      date

lQ12 18                          Well           cant recall            anything         specifically                           I16 18                     have       no reason to think                that       Ive ever
         19        in                 but dust was
100316                   1952                                  always             concern        and         there             loI6      19   seen     this letter      before     right    now
         20    were         always         efforts                     made            reduce                dust                                                     Does
                                                          being                   to               the                                   20             Okay                     this   appear        to   be the format

         21        levels        as   much as possible                                                                                   21   of     memo        that     Mr Myers          would have produced
         22                      Do you remember any campaign                                   in the        early            ioo22          Libby
LOU3     23        50s      to    really      put steam behind                   the    effort     to                          ia 23                        MR GRAHAM                    Objection
LjO 24         reduce             the    dust                                                                                            24                 MR MuRIlw                    Objection
         25                             MR GRAHAM                 Objection               Vague         and                    io 25                        MR GRAHAM                    Foundation


                                                                                                                   Page 46

                   ambiguous                                                                                                   i-             Speculation
                                 Go ahead              and     answer            to tho extent               you               ioo            BY MR HEBERLING
IQ34               can                                                                                                                                  Okay Were                                                        how me
                                                                                                                                                                                   you familiar with
                   BY MR HEBERLING                                                                                                            were prepared               in Libby         and        sent to        Chicago
IOa33l                           Does      anything             stand           out to    you                                   __                         dont know               what that           means               would
1om40                            Nosir                                                                                         ioa            assume       that      theyre prepared                   by          secretary
1OW4I                            Okay           Lets         go to No             13       Does         this                   i-                       Did you have                     standard           format for
I6                  ppeartobealetterbyPaulWoolrichofthe                                                                                       example putting                 the addressee                 on     the   top and
                   Department                of    Health          Education                     Welfare              Public                  tIe    name under             that    being        the       sender of the in
         10        Health Service                                                Wake                        of Montana
                                                   toBenjarnin                                 State                                     10             Yes sir             That was standard
ii                 Board          of    Health           dated        October31                 1955                           owo411                   Andasofl955wereyouinchargeof
         12                      Did you ask                   question                Im sony                                           12   record      keeping           for Zonolite

i13                              Yes       Doesitappeartobetheletterasl                                                        i13                         dont know               that         was        ever given that
O424 14            descnbed              it                                                                                    IOO7.I4   14   designation             no    sir

         15                      Yes      sir                                                                                  iia 15                    Well        as   assistant
                                                                                                                                                                                           manager was record
         16                      Do you           think       you saw this                letter        in the                 IO1fl     16   keeping       something that was                        within your            area

         17        1950s          in    Libby                                                                                            17   responsibility

         18                           dont
                                                                                                                                                                                                 say Yes
                                                recall        ever      seeing         this    letter                          iooi 18                                                  could
                                                                                                                                                           suppose you
         19        before         right      now                                                                               2GrO1 19                  And did the secretaries                           and     whoever ek
         20                      Okay           Please         refer to Exhibit                  14                            IO1fl     20   worked        in the office               work     under            you except
         21                      What number                                                                                                                                of   course
                                                                                                                               1OO1fl    21   plant     manager
         22                       14     the next         one          Does        this      appear          to    be           Wt174    22              Yes sir
         23             memo of J.B                     Myers         to    Mr John Huxley dated                                iooi 23                  Does   memo appear to have
                                                                                                                                                                     this               forina

 oo24 December                             it    looks        like         21 1955                                              IOO74O   24         memo that would have been sent out in 19
         25                      Yes      sir                                                                                   ioo 25                         MR GRAHAM                   Asked and answered

Page          45     -Page48                                                                                                     HEDMAN                        ASA REPORTING                                         406752
                     Case 01-01139-AMC                                                          Doc 22814-30                              Filed 08/14/09                                   Page 14 of 25
EARL              LOVICK VOL.1                                                                                     CondcnseIt                                                    HURLBERT                           VS WR GRACE
                                                                                                               Page 49                                                                                                                        Page        51

                           MR MURPHY                     And also lack of                                                     1lO                              Whats his              full      name     John           Myers
            foundation           The        no          has nothing                  to    do with          the                                                Yessir

11          Libby    mine and mill and your qiestions make those                                                              I1Ol4                            Do you know                  if   Mr Huxley had any training
IQOT        assumptions               believe           cc imply               that                                                                 in    control of industrial                  dust

no15                       MR HEBERLING                           The memo                 talks       about                                                   No sir            dont know

            The     danger       of exposing                our employees                       to    asbestos                                                 When        be    was        in   Libby did be have                anything

            dust Thats             the       subject of            this        case                                                                 to    do with dust control

Lko4                       MR MURPHY                     But if you read                        the                                                            No sir           Not        to    my knowledge
            wholethingifyouwanttoputthisinfair                                                                                ioo                              What        was       his    job   when         he   was     in Libby          to


       10   context    its       talking       about             plants        and        the                                             10        your understanding

       11   manufactured              products          at       plants                                                                   11                   His job          was on research and development                                of

       12                  ThE WITNESS                      Ihave         not                                                             12        expanding         plants

       13   BY MR HEBERUNG                                                                                                                13                    Okay           Lets refer          to    Exhibit      15 and does
       14             Okay         Do you remember                             the          Go ahead           and                        14        this    appear        to    be     letter      from        Ben Wake          State        of

O34 15      make your comment                                                                                                             15        Montana          to    Dobrman               Byers Public Health                  Service        in


to16                 Allthatlhavereadasofrightnowis                                                                                       16        Ohio       dated       August 13 1956
       17   the   first sentence             which               will     repeat                     have                                 17                    Yessir
       18   previously       written          to    y            about     the        danger           of                                 18                    DoyouthinkyousawthisinLibbyintlme
       19   exposing       our employees                    to    asbestos dust while                        they                         19         1950s

       20   are   manufacturing               acoustical             plastic               which has                                      20                    Idontrecallnosir
       21   nothing    to    do with           the asbestos                which was found                        in                      21                    Go to Exhibit 16                   and     does      this    appear      to


       22   Libby                                                                                                                         22        be another         letter         from       Mr Wake to Mr Dohrman                              Byers

       23             Jnlibbyinl955wereyouawareofthe                                                                                      23        dated      September              12th        1956
       24   danger     of exposing             employees                  to    asbestos              dust                                24                    Yes sir
       25                   MR MURPHY                       Objection             to      the        form                      ioi 25                           Do you think you saw this letter in Libby

                                                                                                                  Page   50                                                                                                                        Page     52

            You mean          at the         Libby mine and mill When                                        you say                                 inthel95Os
            At Libby                    object           Vague            and        ambiguous                                                                  NosirIdontrecall
            HYMR.HEBERLING                                                                                                     OLI                              Okay             Lets go to Exhibit                       17     Does         this


                      Okay            At     the    mine and mill in Libby                                  were               1U44                  appear to be                    letter       from     Mr Wake               to   Mr Bleich
            you aware         of      the                    of exposing                                                                             should say                       that the
                                             danger                                       employees            to              III4                                              Is                     proper pronunciation
ioii        asbestos       dust as of              1955                                                                                              Mr LA Bleich
                      Idontrecallbutldontbelievethatl                                                                          IOI1ZO                           Ycssir
            was aware         of this         hazard                                                                                                            DatedSeptember2l                                1956
                      So                                                  you hadnt                                                                              Yes
                            is   it                belief        that                                                                                                          sir
                                      your                                                                                     tO.I1.54




       10   discussed       that       with        Mr Myers as of 1955                                                                     10                    And did you                     see    this    document          in    Libby          in

       11                    MR GRAHAM Id object                                       That                                                11        the       1950s
       12                  that Mr Myers was aware                                    of                            of                                                         sir
            assumes                                                                         the       dangers                              12                    Yes
i13 asbestosdustinLibbyasopposedtoadifferent                                                                                   101Z06      13                    Did you see it at or about                               its   date

       14   form of     asbestos             dust       in the       manufacturing                      process                            14                    Probabiy              yes
i.. 15                Go     ahead          and      answer          it   to    the        extent       you                    i224 15                           Then go              to Exhibit

iotz 16     can                                                                                                                                16                      MR HEBERLING                             think       we have           an

       17                   THE WITNESS                           dont believe                       ever                                      17        exhibit here           that       didnt get marked                      Lets go             off

       18   would      have      discussed              this      with         Mr Myers                 no     sir                             I8        the   record

       19   BY    MR HEBERIJNG                                                                                                                 19                      THE VIDBOORAPHER                               Were            going off
i20                   lsMr Myers still                       alive                                                                             20        the record            approximately                   1012
is 21                 To    the       best    of     my knowledge                          yes                                                 21                      Discussion                  off the          record
to22                  Doyouknowwherebeis                                                                                                       22                      THE VIIEOGRAPHE                                Were            back         on the
       23             San Diego                                                                                                                23        record       Its        approximately                      1013
 24                   Doyouknowhisaddress                                                                                                      24        BY MR HEBERLING
       25             No sir                                                                                                                   25                 Okay               We solved            that      problem            Then

HEDMAN                      ASA REPORTING                                                  406752-5751                                                                                                                     Page       49           Page 52
                       Case 01-01139-AMC                                            Doc 22814-30                            Filed 08/14/09                                     Page 15 of 25
                                                                                                                rage
  144                  attached         to Exhibit
                                                                 17 do you           see          Montana          State
                                                                                                                                                                                                                                                  Pa
                                                                                                                                               plant              Do you see             that
  tO13                 Board       of Health report                     of an industrial               hygiene                                               Yes sir
  1OU56
                       stufiyAugust8to9j957
                                                                                                                                                             What         was your understanding                         of the        word
  1136                            Yes sir                                                                                                      what                word Toxic
                                                                                                                                                            the                                meant
  14QQ                            Who was Ben Wake
                                                                                                                                                             Well               would be
                                                                                                                                                                          it
                                                                                                                                                                                                 my understanding                      that      it
  IQR-O6                          He was with the Montana Board                                        of Health                               would mean hazardous                            or unhealthy
  1OI4I2                          Was he an industrial hygienist
                                                                                                                                                             And         Considerable                                   did you
                                                                                                                                                                                                     toxicity
  LI4l4                           His title was industrial
                                                           hygiene engineer                                                                    discuss        What
                                                                                                                              IO17r36                                         that   meant with             Mr Wake
  lOi4O                           And what               was                                            of the
                                                                  your understanding                                                                         Idontrecall
 1O.I434        10
                      purpose           of this         visit     by    Mr Wake                                                          10                  As          result       of this report          did      Mr Bleich
 W143o          11
                                  WellitwastomaryforStateBoard                                                                           11    direct               to        do anything
                                                                                                                             1OI744
                                                                                                                                                             you
 IOI436         12    of Health             to    have     an     inspection         of various                              iiii12
                                                                                                                                                             NotthatIrcca1lno
 IOIk3Z         13    industrial            operations            throughout          the state                                          13
                                                                                                                                                             Continuing               under      Toxicity               it
                14                                                                                                                                                                                                            says
 W.i446
                      periodically                and     it    was     also their custom                to    visit                     14    According                 to    Drinker        and      Hatch       the
            15        the                                                                                                                                                                                                    pathologic
 IOt4Q                       Libby          operation            periodically          and         Mr Wake                               15    changes            produced            by asbestos           are   not        like   those        of
 1OI454     16        visited      Libby           on     several       occasions            to    make                                  16    silicosis           The asbestos                fiber               about         the
                                                                                                                                                                                                        group                             neck
 O.I456     17        inspections                of the operation              and     this       would have                             17    of    the    small        air    sacs     in    the    lungs and          stimulate            the
 iisa       18        been         report          on his inspection                 and he says               its                       18    formation            of         diffuse        fibrosis            Do you see              that
 ioi        19        report       of anindusti-iaI                 hygiene         study         at   Libby       in        I1I6        19                 Yes sir
 II34 20              August           of 1956
                                                                                                                                         20                 After                             this
                                                                                                                                                                         obtaining                   report       did the           Libby
 oju 21                           Okay Then                     on the first page             after the                                 21    ______
                                                                                                                                              n1Rmgement                  obtain
                                                                                                                                                                                          copy of Drinker and Hatch                                   wh
            22        cover                      in the
 IISJ6                            page                     first
                                                                       paragraph do you see                                  iis 22           is    cited     here             book      on    industrial         dust
            23       mention of                  Mr Lovick              assistant       manager                                         23
                                                                                                                                                            Notthatlrecallnosjr
 tos 24                           Yes sir                                                                                   ni 24                           And then             continuing            it
                                                                                                                                                                                                            says       There         is   no
 I15 25                           And thats              you                                                                            25    definite        migration              or transportation                 of the dust


                                                                                                               Page 54
                                                                                                                                                                                                                                                 Page
 1O3-                             Yes sir
                                                                                                                                              particles            to    the     lymph nodes and no formation ol
                                  Did you                                 Mr Wake                 on
                                                   accompany                                           this
                                                                                                                                                                   nodules
                                                                                                                                              fibrous                                    As the fibrosis                 increases                the
 IOI5                Inspection
                                                                                                                                              reduction             in lung area causes                            serious           decrease
                                  Well            dont recall            but        probably            did
                                                                                                                                              lung capacity                    or difficulty
                     not accompany                   him for the entire inspection
                                                                                                                                                                                                         in   breathing                   Lauza
                                                                                                                      may                     Citation            No.2           suggested             that   enlarged               hearts           no
                     or may not have                                               him for part of it
                                                         accompanied
                                                                                                                                              frequently                in the cases            of secondary                   asbestosis
                            Okay Lets refer to page three of the                                                                              Do you              see    that
                             Do you see where
                     report                      says The maximum        it
                                                                                                                                                            Yes         sir
                     allowabl                     This     is    three    lines      down from               the      top                                         MR GRAHAM                          Object       to the        form of
           10        The maximum allowable                               concentration                 for asbestos
ii Isflvemillionpartcespercjcftandc                                                                                                     10


                                                                                                                                        11
                                                                                                                                              questioning

                                                                                                                                              that     the    document
                                                                                                                                                                         and         the line of
                                                                                                                                                                                                 questioning

                                                                                                                                                                                                       for itself
                                                                                                                                                                                                                                     on the ba

                                                                                                                                                                                       speaks
           12        the concentration                   of asbestos           in the dust
                                                                                                       samples              iOI914      12                  30 ahead
           13        collected         has       been      determined further comments on                                               13                        THE WITNESS                        Okay
           14        concentrations                will        be made         At this time however                                     14    BY MR FIEBERLJNG
           15        and     on    the basis            of the concentration                  of asbestos                               15                  Then         to     your knowledge                    in    1956           after
           16        found        in the         dust which             varies      from      the
                                                                                                       companys                         16    receiving            this        report         did the       Libby management
           17        records       from             to    21 percent                would
                                                                               it
                                                                                                   appear       that                    17    obtain              copy of the Lanza                      medical             article       titled
           18        the   maximum concentration                              of    dust in the          air    shoulc                  18    Effects of the Inhalation                                of   Asbetos              Dust         on th
           19        not be greater than                   25     to    30 million particles per                                        19    Lungs          of Asbestos                Workers
           20        cubic       foot            Do you see that                                                            ii20                       Idontrecailthatthydidno sir
           21                    Yes sir                                                                                                21             To your knowledge did the
           22                    And then                                                                                                                                         company ask
                                                    do you see three                              down
                                                                                     lines                                              22    Mr      Wake for more information  on this
           23        under        Toxicity                fle asbestos              dust in the dust in
                                                                                                                                                            Not thatlrecall
           24        the
                                                                                                                                                                                                no sir
                           air    is   of    considerable               toxicity and
25
                                                                                                  is    factor                          24                  Did the company ask
                                                                                                                                                                                anyone for more
                     in the consideration                       of reducing         dustiness           in     this                     25    information                on this
Page        53                         56
                           Page
                                                                                                                            DEDMAN                                ASA REPORTING                                         406752-57
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EARL                   LOVICK                   VOL                                                       Condenselt                                               HJRLBERT VS W.R GRACE
                                                                                                        Page 57                                                                                                                         Page 59
                          Not       that        recaB     no     sir                                                                                     MR GRAHAM                         would object                      It

                          As of 1956              did    you notice           that      workers                                          calls    for       medical conclusion
               who had been                at   Zonolite       for     some time had               that                                           Goahead
Imol           these    wom workers                who had been               at   Zonolite       for    some                                            THE WiTNESS                       have       no knowledge                       of
               time     that    had some           difficulty          in   breathing                                                    that    no
                                 MR MURPHY Read that hack please                                                                         BY MR HEBERLN0
L2                               MR HBBBRL1NG Ill restate it                                                                                      You didnt               see     any documents                       which            related

               BY     MR HEBERUNG                                                                                                        the diseaseto             the    dust
                          Asofl9S6didyounoticeworkersat                                                                                           No sir
          10   Zonolite        who bad           been    there       far say norethan                   five                       10             To your knowledge                            in    1956        did        the    company
          11   years who            had     difficulty        in breathing9                                              ii              consultwith              anydoctors               as to      the disease

          12              Well             dont know            that    1956       is     magic                          i12             asbestosis

          13   date     but certainly ove time and durui the                                      tune                   13                   AN0tthatliecallnosir
IO2fr4    14     was     there      and probably              before 1956            we knew          workers            44                                                                                                   1956
          15   that    we had that had                 ai                                          sir                   oz3l415
                                                                                                                                                   Didyouknowwbatitwasbefore
                                                                                                                                                  NosirIdont
          16              Was       anything           done     to   identify        who these                                     16              Was this             report       your       first      knowledge                   of
          17   workers         were asof 1956                                                                                      17    what     asbestosis            was
in18                      Idontknowwhatthatnieans                                                                                  18              To the best of my recollection                                      this

19                        Wasanylistingmadeoranytestswere                                                                          19    report     is    the     first   that       we or           knew         of the dangers
          20   any tests done              on workers           to   determine           how serious                               20    of asbestos             in the    workplace
          21   their    breathing           difficulties
                                                                may         have     been                                          21              So as of 1956                  the
                                                                                                                                                                                           company knew                       there           was
          22              Well at various                times       these      workers        were                                22    asbestos         in the        dust correct
io 1223        referred        to   doctors       to    evaluate        their      general health                                  23              Yes sir
ioi       24   Øonditi                                                                                                             24              And the company also knew                                      that       asbestosis

          25              And say before 1956                          did you       receive      any                                    is   froi1ij                           estos           uaiect
                                                                                                         Page 58                                                                                                                         Page 60
II             word from              doctors           as to    what         the condition             of                                         Yes sir
                                    workers            was
               particular
                                                                                                                                                                    cpan a1s knew                                       were
1fr2122

                                                                                                                                                   Andthe                                                   there

ID2i                           really dont              recall         Its     possible but                                               workers        at Zonolite           Wlore inhaling asbestos dust
I2I                 dont       recall the

IO23O                     Do you recall any particular                                  individuals                      i5 AYØssir
               before          1956        who had                                 with breathing                                                   In    1956 were            you aware that                                     and
lOTh34
                                                           difficulty                                                    L24O4                                                                               Drinker

116                            recall       particular           individuals              but                                             Hatch      1954         which was            cited        in the report

LO2136         dont know               whether           it   would have been                   before         or                         Exhibit        17 showed             studies      in      England with                  160

1OZI           after      1956                                                                                                            deaths    from asbestosis

tQ21C     10               How about Mr Joughin                                 is   it                                            10                    dont know               Is that       in this report

          11               Jouckin                                                                                                 11               No Im asking                     you    if you         were aware                  that


1O2146    12               Jouckin               Did he        die in        1952                                                  12     the Drinker            and Hatch reference in this report
ia13                       Probably               He died certainly                     about that                        i-- 13          discussed        studies        in   England which                 showed               160     deaths

ts.a14         time                                                                                                                14     due    to asbestosis           with     an                              of
                                                                                                                                                                                         average           age
I2134     15               Didhedieof                   lung disease                                                      12446    15     forty-eight

ioo       16               He       died        of tuberculosis                                                                    16                      MR GRAHAM                     would                         to   the
                                                                                                                                                                                                       object
          17               Do you know who                           diagnosed              who         called      it              17    form     of question           on    the    basis its            an attempt to
          18   tuberculosis                     Was     that         local      doctor                                    134.34    18    introduce        hearsay        evidence             through       this      witness                If

          19               Atthetimeofhisdeathlewasapaiient                                                               Io2ta     19    you     have     the    report        Id prefer           that    you show               it    to

          20   at     the State        tubercular             hospital          in   Warm Springs                         ia 20           the    witness

          21   No                                                                                                                  21               Go ahead            and answer                                    you can
                                                                                                                                                                                                                 if
                                                                                                                                                                                                it Earl
          22               Gaien                                                                                          ioa 22                           ThE WflESS                      dont have             any
ion23                      InGalen                Yes sir                                                                           23     recollection          that   we     were      aware        of that

          24               Was        his disease             related         to the dust          at                               24     BY    MR HEBERUNG
ion25          Libby       in any           way                                                                                     25              Okay           Im now showing you                                 copy
                                                                                                                                                                                                                                  of


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                                                                                                                          Page 61
                 Drinker         and Hatch                1954             by the McGraw-Hill Book                                                        continuously                  off the rafters                    Did you see that
                 Company                                                                                                                                  happening
io                                 MR GRARAM                          Do you want him to                                                                              Yes sir
                 review      the whole                 document so that he can                                testify      to                                         And what was your understanding                                               of   the

                 that
102156
                                                                                                                                                          cure     for this         problem             as    of     56
ios              BY     MR HJ3BERLING                                                                                                                                 Well          to    remove that dust so it couldnt
                            Take            look         at                           and        Ill ask
                                                               its    format                                                             1I6              fall    off

                 you     whether        youve             ever         seen         this    book before                                  102130                       Okay              Then No.2                   it
                                                                                                                                                                                                                          says     Rubber
                            No sir Ive                   never         seen         this    before                                       102134           connectors           between                the    vibrating            screens          and    the

1ono      10                Okay            So is it fair to say that you                                                                103030      10   feed     spouts          are     not tight                Now in the                    dry mill
          11     didnt obtain               this       after         1956      either             Correct                                11312111         what     would            vibrating           screens            and feed spouts                    be
          12                Ive never              seen              before
                                                                                                                                                                      They would
                                                                it
                                                                                                                                         102134      12                                           be    for     the purpose                  of sizing
il3                    Okay Asofl956orsaythelateSOs                                                                                      102131      13          material           that    came            across        dm
          14     who in Libby was responsible for collecting                                                                                         14               So      ore       would come across thorn and                                      some
          15     literature       on asbestos hamrds                                                                                                 15   would                down
                                                                                                                                         102144                       fall                  through            the        screens        and        some we
          16                      MR GRAHAM                           Assumes              facts                                         10214616         pass     on
          17                      ML MURPHY                          Object          to the        form                                  1021-4617
                                                                                                                                                                      Yes sir
10211218                          ThE wrrNBss                         WeilIdont know that                                                10315018                     Okay              Then      thems mention                        of rubber
          19     anybody had             that          specifIc            responsibility                    but                         102154      19   connectors                What         would          the       rubber connectors                     has

          20     certainly        if   someone                was going               to    be     responsible                           10213620         to   do with         dust control

          21     it    would have           to    be      the        general manager                                                     icosgo21                     Wellthedustcoilection                                     system onthe
 os       22     BY MR       HEBERL                                                                                                      10.210422
                                                                                                                                                          upper       part     of the        screen            there        were       hoods            and
i23                         Doyouknowifuptol963whenGrace                                                                                 103610    23     these     hoods          were      ventilated                  much like                 Ihare       wot
          24     took      over whether                                     in Libby
                                                         anyone                                  collected                               10361424         be an     air      stream         coming            across            them and going                  inti


          25     literature      on     industrial              hygiene              relating           to                               10563025         removing            the       dust from             the    screen        and putting                 it




                                                                                                                          Page 62
                 asbestos        or medical               literature                               to    asbestos
                                                                                   relating                                                               into        cyclone            where         it    could         be    settled          out    and        no
                            No sir               dont know                    that
                                                                                                                                                          go   into     the    atmosphere
                            Back       to    the        1956         report                      four         Under
                                                                                     page                                                105620                       Is that        sort     of like               hood on              kitchen
                 Conclusions and Recommendations                                                    about          five    lines         102130           stove
                 down       do
                                  you see              where          it
                                                                            says      Do following                        are            103630                       Yessir
                 several     reasons          why the                dustiness             in the        dry mill is                     I34                          Okay              And then              what do            the    rubber

                 heavy      and why              the     exhaust             mechanism as designed                              does     102136           connectors           have               do with dust control
                                                                                                                                                                                            to

103124           not    function                 Do you see                  that
                                                                                                                                                                      Well          the    hood               The
                                                                                                                                         002140                                                                           air   coming across
10-2134                     Yessir                                                                                                       103644           that     going       out of         those          screens            has     to    go
          10                Then       the                    reason         talks     about
10-2121                                          first                                               the                                 io4         10   somewhere                 and     so    the        rubber connectors                      would
          11     rafters    loaded          with         dust          Do you              see    that                                   10302111         connect         this      hood         which          was                               with    the
                                                                                                                                                                                                                           vibrating

10-2134   12                Yes sir                                                                                                      10303412         screen        to    the       collection            system
10-2136   13                Did you           see        rafters           loaded      with         dust in                                                                             And
                                                                                                                                         10.3021     13               Okay                        so would                the    cure    for the

10-2136   14     thelate      SOs                                                                                                        103004      14   rubber connectors                      problem             be                      to    maintain
                                                                                                                                                                                                                            simply
          15                Yessir
10-2736
                                                                                                                                         103064      15   better      and      replace           as    necessary
10213$    16                Did you understand                              how this contributed                          to             iosoool6                     Yes sir
10211217         the    dustiness                         air
                                         in the                                                                                          10.2112     17               Okay              Then      No.4          talks           about        Exhaust
10-2112   18                      MR MURPHY                          Objection                Vagne           and                        1030.16     18   from      some of the              vibrators               is    insufficient                  Is    the
          19     ambiguous                                                                                                                           19   exhaust                        of the        ventilation
                                                                                                                                         1030.11                              part                                               system
102721    20                      mEwrmJEss                           Well          itwouldbe                                            ioo 20                       Yes sir
102131    21     because      of   the       dust        in     the        airthat         the    rafters                                oojos 21                     So      is    itpossible               thatalargerfan                       would
03734     22     would      be    coated           with         dust          It    would          settle            those
                                                                                                               on                        iojo.z22         be     required          to    run the            ventilation            system
10213623         rafters
                                                                                                                                         00-3030     23               Yessir
10-215624        BY MR HEBERLINC                                                                                                         ijo 24                       Above              under         Conclusions                      line       three       it


          25                And        then                          Dust vibrates                   almost
                                                                                                                                                          says The exhaust mechanism was
                                                  it                                                                                     0302125
                                                       says                                                                                                                                                                            well        designed

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                                                                                                                  Page 65                                                                                                  Page 67
               originally          but under               tie handicap                       to which            this                     fixthe     hoods
               exhaust mechanism                         is                                                     and does
                                                                subjected                it    cannot                                                Yes sir
               not function
                                        properly Do you see that                                                                                     ThenNo.9itsaystIereManyoftl
                          What number                     is    that        please                                                         dead ends in the exhaust system were                                  left
                                                                                                                                                                                                                         open
                               went     up     on        the       initial    paragraph                 right                              peniuthug              large volume             of air to be drawn in
               under       Conclusions                         above         No                                                            through        openings         where      no    control        was necessary
                          Yes sir              see that                                                                                    Do you         see    how that would reduce                     tie    efficiency        of
                          So in order               to    have        the ventilation                      system                          tie ventilation
                                                                                                                                                                     system
               function          better       might that require                                larger          fan                                  Yes sir
i10                       WellIthinkinthiscasejtrefeito                                                                               10             What would                be tie cure         to   that
          11   better     maintenance                                             to the
                                                         being        paid                       system itself                        11             To plug up            those    ends
1I34      12   like tightening               or replacing                   the rubber                connectors                      12             Then        No 10 saysIn many of tie
io        13   and     that     sort    of thing rather                      than        the fan                                      13   locations        it   was obvious           that        the dust collection
          14   capability                                                                                                             14   mechanism             was full of dirt            or    dust          Do you see
          15              And would increasing                               the fan capacity                         help   is            that
Zo3L4416       too                                                                                                           i16                     Yes sir
IOc3I46   17              Yes sir                                                                                                     17             Did you         see that      condition             in the    dry mill
lO3I      18              And nine years later in 1965 did the                                                                        18   yourself
3ISZ      19   company           install            larger           fan                                                     W346     19             Idontiecallitno
1G3I2     20              Yes sir                                                                                            1Q34l6   20             But anyway                 would the cure for that be
          21              No            it
                                             says Backs                      are off           many          of the                   21   simply to clean               out the areas         where        the dust
          22   vibrators
loncz                                  Is    that        again tie vibrating screens                                         iis 22        collection        mechanism was                  full    of dirt
          23              Yes sir                                                                                                     23             Yes sir
ion24                     Would          the    cure to that simply be                                 to     put                     24             And moving to page                     five in tie          report        at

          25   tie   backs        back        on the vibrators                                                               io25          the   bottom theres                   recommendation                  under     No            at



                                                                                                                  Page 66                                                                                                  Page 68
ionzo                     Yessir                                                                                             L1            tie bottom            of page       five    It    says       That            system of
                          And No               talks       about           holes     in       conveyor                                     vacuum          cleaning        or offer                        of tie rafters           in
                                                                                                                                                                                           cleaning
II1            pipes       So did you have                     conveyor            pipes where                  the   ore    L3442         the entire mill           be instituted                 Do you see that
               would      move         from area           to       area                                                     O342                    Yes sir
I3o                            think   that     the conveyor                  pipes would                  be                I3l.5O                  In    tie    late    50s was          there        discussion        of
iz             the pipes        which        w-e for the               conveyance                 of air                     IO3k          getting         vacuum          cleaning         system
Ifl34          rather     than    of materiaL
                                                                                                                             I3454                   Yes sir
                          Okay         And         then       it    talks    about            Where                          IO3456                  And was             one     obtained
O324O          holes have         been       cut    into       the     pipes at          random                              1O345                        believe was yes sir
                                                                                                                                                                         there

O344 10        locations           Do you           see that                Its    the        third    line                  IO3i 10                 And wasnt that until much later in the
          11   of    No                                                                                                      13       11   mid-SOs that you first obtained                                 portable        vacuum
to 12                     Yes sir              see that                                                                               12   cleaner
          13              Why would                holes have               been     cut       into     the                           13             IdontrecalL
          14   pipes                                                                                                         iio 14                        MR MURPHY                  Excuse            me Objection to
          15              Well          dont        know            that     this    means            that                   1O3I2    15   tie    form of tie question                     You      said    Much           later
1O33      16            were literally
               they                             cut in there                       think        the    holes                 O336 16       middle         50s and were                talking           about       56     report
          17   could      have    been       worn         in there           by the           friction       of the          io.ii    17   BY MR HEBERLING
io 18 material which was being conveyeL                                                        dont know                              18             Did          say middle          50s               meant     middle
in 19 which means         it
                                                                                                                             iojs19         60s       Excuse         me
I12 20                    And would             the cure             for that        simply           be     to                       20             Idontrecall
          21   fix   the holes                                                                                               i21                     Do you recall any                 discussion           among
          22              Yessir                                                                                             iai 22        management              as to       whether       to get         vacuum         cleaning
          23              Then     No           talks         about         hoods        being         broken                ia 23         system as of the late                   SOs
t2024                     Uh-huh                                                                                                      24             Yes           do          remember            discussions           on it
          25              And would             the cure                                              be                                     dont remember the time
___                                                                  for that        simply                  to                       25

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                                                                                                                     Page 69
103510                          Do you remember tie result                                                                            I037                          There                was never                solution             to that

03346                           We got one We got                                vacuum           cleaner                                                           Not            in          No       sir      This mill wasa

103556              system as                   matter of fact                     couple        of        them but                                      seven-story                    building and               if     you have somethi
                    tIe results of their use                           was not what had been hoped
103354
                                                                                                                                                         tletopstoryhowdoyougetridofthatdust
                    for                                                                                                                                                 Would             it    be possible           for         someone               to        car

                                Okay              What         is your         recollection            on when                        103S14             it    down           tie       elevator

I0.36               vacuum            system was                 first       obtained                                                                                   There was no                    elevator             in that        mill

1O3O4                           Idont             recall                                                                              iojais                            Was         it         staircase         down
10.3010                         And you mentioned                             that tie      vacuum                   system                                             Yes sir
10.3610       10    had        some difficulties                                                                                      i-          10                    So someone                  would          have         to carry           tie            dus

103012        11                Yes         sir                                                                                       ionII              down
0.3012        12                What was that                                                                                                     12                    Yes         sir

0.306         13                Well one                thing         that   was       done           And                                         13                    And what was                      the     problem there                     lack

10301         14    again             dont         recall tie           date but they              tried             to               ioso        14     manpower
1030.54       15    put         stationary              vacuum            system in with tie                                          ioo         15                    Well just tie                    cpiantity           that      was

10302616            connections                 on each          floor and             because             of    the                              16     involved                  It    was from                  practical               standpoint

103030        17    vibrations              in the       mill tie system could                             not be kept                            17     getting          it       down and             getting         it     disposed            of
103034        18    intact           It   would          keep         separating                                                      ioatio      18                    From               practical            standpoint                   You neai
1030.36       19                Anotler thing                    that     was      done       on tie                                              19     number               of    men          that    would have been                         reuirec

              20    portable          vacuum              systems which                   they tried                 is                           20                    Yes         sir

1030.4421           There           was always                  problem            on tie disposal                        of tie      oss21                             Was that                an unreasonable                      amount             of wc

              22    dust       which        was         collected            in handling              it    and                                   22     to     devote             to    this    task
10305423            disposing              of that             Just like        any vacuum                  cleaner                   103050      23                           MR GRAHAM                         Id object                  Calls for

io.os24             they have              to   be emptied periodically                            and that was                       10302124           speculation                      Calls         for an      opinion                 Calls            for

03i           25    tie    system that                       There       was     not        practical                                 siss 25            conclusion


                                                                                                                      Page       70

103704              solution          for   it     as        recall                                                                                                     3o ahead                and answer           it   to    the    extent       you

1037                                Okay        On the          in-wall        system was             that                            1030.56            can

10.3712             system          where       there        were      vacuum          cleaner     pipes in               the              3s51                                THE WrrNEsS                       cant answer

10.3714             walls           and then       the       vacuum          cleaner     could        be    attached                                     dont know

10371               to    an    outlet      in the       wail                                                                          oy                BYMR.HEBERLING

10.371                              Yes     sir                                                                                                                         Was         there          decision        by management                        that        it

  03535                             Much        like    an     in-built      house       system        can       be                    ios               woudcsttoomuchinworkertimetocarrythed
 103735                             Yes sir                                                                                                              down           the    floors             down          the stairs

 0Th26                              Was     that    done        in    the early        70s                                                                              Well            there    was          decision            and            dont

  03735       10                     dont        recall        when     it   was done              think                               ii         10     know           that       the    decision        was based               on       the   cost        that


 ioji.o1l           itwasdonebefozuthat                                Im sure         itwasbefore                                                11     would           take            Just    from           practical            standpoint               Hov

 lojlsol2           that                                                                                                               ioiol2             doyoudoitxnorethanwhatthecostwouldbe
 l037-.35     13                    And thats            the    one     that   vibrated          apart          is                     10.30.2413         involved

              14    thatright                                                                                                                     14                     And what were                    the    practical            problems
   o.s15                            Yes                                                                                                           15                     Getting           rid    of the       dust

   0373516                          And the        portable           vacuum          cleaner      you say                             s16                               Youmeanwhcretotakeitafteritleft

   03756      17    there       was         problem emptying                     it                                                     ini7              thedrymill

    037.40     18                   Yes sir                                                                                             toio       18                    Yes sir
                                    Is itbecause                                                                                                                         Did you have
  03712        19                                             itfilledup         so     quickly                                                    19                                                   dumps
    037.44    20                    Yessir                                                                                                         20                    Well you could                       certainly         build            dump
  10.374621                         And what was                 the    problem           Why couldnt                      it                      21                    Do you know when                          this decision                 that        it



              22               be    emptied           over     and     over    and      over     again                                            22     would be impractical                                                                           vacuu
  10374             just                                                                                                                                                                                 to     empty          the    portable

    03735      23                   Likewhere                  How doyou               disposeofit                                                 23         cleaner         so   many          times     was      made
   103734      24    That       was       the   problem               Where      do     you empty               the       dust                      24                   No sir
     0.3756    25    and       how do you               dispose         of it                                                                       25                   Can you say                     Was       that      in      the    60s

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                                                                                                      Page     73                                                                                                          75
                                                                                                                                                                                                                   Page
                             dont know                                                                                               be confidential            or    not
                        You dontknow                                                                                                         No sir Not that                       Not tomy
36                      Idontrecall                                                                                                  knowledge
                        Do you laiow whe made                              the    decision                                                    So    if   Mr Bleich                                      had
                                                                                                                    lOQ44
                                                                                                                                                                             plant    manager
i-                      Well         local       management                                                                          conversation         with the Board             of Health

                        Were you in on the decision                                                                                  representatives
                                                                                                                    lth43i4                                     regarding      this    you were unaware                    of
                        Not directly  dont believe                                 but          would               ioi              it
              have     been     aware            of it                                                              ii                        Yes
                        Do you know                   in connection                with        that                 oII                             ML OLHAM                 Objection         Calls for

         10   decision         whether                    industrial
                                                  any                       hygiene             engineer            iooi       10    gross    speculation
         ii   was consulted                                                                                                                   Go ahead          and    answer
         12             No sir                 dont know                   dont recall                                         12                   THE WITNESS              Im certainly not aware
13                      1lnpagesixItem7itsaysThatuntiJ                                                              1O4kl3           ofit

t-       14   such time as the repair and                         maintenance                   of both the                    14    BY ML HEBERLING
         15   exhaust and             ore      conveying          systems have                  heed                           15             Did Zonolite                                          the report
                                                                                                                                                                       management           keep
         16   completed             all    the    men      in the      dry mill           be provided                          16    confidential

         17   with or required                 to   wear an adequate                    respirator                  io 17                     Well         believe       so yes
         18   Do you see that                                                                                                                 Was the report             disseminated          to the

         19             Yes sir                                                                                     _-         19    employees
         20             Since thats                   recommendation                     does     that              io 20                     No sir
         21   mean      that    that       was not being              done         as    of 1956                    io21                      Did Zonolite                                  object       to   this
                                                                                                                                                                       management
         22             No sir            it   does     not mean that                                               io3 22 report
         23             Was         it
                                         your understanding                      that    most     men in            ia 23                     No
IO4124   24   the     dry mill were wearing respirators most                                          of the                   24             As you recall
         25   time as of            1956                                                                            io 25                     No sir
                                                                                                       Page    74                                                                                                   Page 76
                        Yes     sir        fl instructions             were        for the                                                    Did Zonolite             management           agree       that the

              men to be wearing                  respirators                                                                         ventilation         system was not functional                      as    of    56
                        And     did
                                          you understand              as   of 1956         that                                                     MR MURPHY                           to the      form        of
                                                                                                                                                                              Object

4I44          respirator       is        temporary        measure          and     is   not                                          the question

lo4I46        substitute       for       dust control                                                                                BY ML HEBERLING
                        Yes sir                                                                                                               Perhaps            should refresh         your
                        Back        to    the first
                                                        page     of   No 17 the                                                      recollection               iead you           statement       at
                                                                                                                                                                                                         page       four

              first
                      page     of the report              Do you see where                 it
                                                                                                says                                 of the report          line five        whore theyre           talking
i-_           This                  is Confidential             and        not     for                                               about    the ventilation
                       report                                         is
                                                                                                                                                                            system     It   says    it   does not
oio 10        dislribution          except       to the                            of    the                                         function       properly and
                                                              management                                                       10                                            so    my question           is   whether
         11   Zonolite       Company                                                                                           ii    Zonolite       management              was in agreement                 that    the

oaz 12                  Yes sir                                                                                                12    ventilation         system did not function                   properly
II6 13                  Now was this confidentiality                             established                                    13                  MR GRAHAM                 Object       to the    form
--       14   per agreement              between        the    company           and     the    Board of             iorn14           again
         15   Health                                                                                                  1444                    Go ahead           and
                                                                                                                                15                                      answer
IOQ 16                  Nosir                                                                                                                       THE WiTNESS
                                                                                                                      t44.3O    16                                            Well yes              believe

io       17             Was     it        condition           the company           placed        on                  oz17            that   they    would       agree      that   these    things       as outlined

         18   having     the    inspection                                                                            IO443418       here    are accurate

i_- 19                  No sir                                                                                                  19    BY MR HEBERLING
ioo20                   How         did    the    confidential         statement                                      iir 20                  In    11956       did   the
                                                                                          get                                                                               company disclose                  to the

oo 21 there                                                                                                                     21    employees          that    asbestos      and the dust in the                  air   was
         22             The Board of Health                     placed      it   there                                          22    toxic
                                                                                                                       O4444

io 23 dont                                                                                                                      23            Notthatlrecall                 no sir
         24             Did you have                any discussions with                  the                          IO44 24                 Wouidyouagrecthatasof                           1956          in the

         25   Board of Health                                                     whether
                                            representatives           as    to                    this                          25    thy    mill it was         not        healthy    environment                 to   work
BEDMAN                       ASA REPORTING                                       406752-5751                                                                                                 Page        73         Page    76
                                                       Case 01-01139-AMC                                                   Doc 22814-30                                   Filed 08/14/09                                 Page 21 of 25
                                                                                                                                                                                                  e.ttx 1J                                                   %rn -J
IURLBERT                                 VS WJI GRACE                                                                      Condenselt                                                                                          .LiI.J




                                                                                                                                                                                                                                                             Page 79
                                                                                                                          Page 77
                                                                                                                                                         record               at    approximately                   1047
                         in
                                                                                                   that                                                                            Brief recess
oo                                      Yes sirIwouldagreewith
                                                                                                                                                                                   THE VIDEOGRAPIIER                              Were back                 on the
O4t2                                    80f1956didZonolitedoanythiflgt0
                                                                                                                                                                                         its                                      1104
O-.4fl6                  infonn          the    employees            what         asbestosis                  was                                         record               and              approximately

                                                                                                                                                          BY MR HEBERL1NG
45I$                                    Notthatlrccall                no sir
                                                                                                                                                                          Please           refer to Exhibit                    18 Does              this
                                                                                                          have
                                        Now before             1963         did        Zonolite

                                                                                                                                                                                               document             which           lists     mill     equipment
                                                                                                                                                          appear              to    be
o44                      safety         committee
                                                                                                                                                                                                                                                                   of the
                                                                                                                                                          and includes                     some drawings of                         the placement
IO4524                                  Yes sir
                                        Were you             member                                                                      io               equipment
 04526

                                                                                                                                                    10                    Yes sir thats what it appears                                        to    be
L04326          10                      Yes sir
                                                                                                                                                                              thjsadocumenttbatyousawat
L043.30         11                      Can you say during what period of time you
                                                                                                                                                          Zonolite                  in the      late     50s
104$            12        were           member of the safety committee                                                                             12


                                                                                                                                                                               dont ever recall                     seeing          this      before
                                                                                                                                                    13
0.4534             13                   No sir         Idontrecall
                                                                                                                                                                                               did but              dont remember                      it
                   14                   Were you               member in the                            Os                               IIrOO      14    Its            possible
                                                                                                                                                                                                                                                                  of
                                                                                                                                                    15                        Do you           recall     seeing          similar drawings
10452615                                Probably            yes
                                                                                                                                                                                               of mill equipment
                                        And were you                  member up to the mid- 60s                                                     16        the    placement

                                                                                                                                         17
104545             16

                                                                                                                                                                              NosirIdont
                   17                   Probably            yes                                                                                                                                                                and
                                                                                                                                                                              As far as                drawing of the dry mill
 104550            18                   WouJdyouhavebegafltObeaflbw                                                                                 18

                                                                                                                                                                                         floors        and     the location                of equipment
                                                                                             in       1954                                          19        its    various
                             you became
                   19                              assistant          manager
 5045
                                                                                                                                                                                                                      than                                         what
                                                                                                                                         no.io      20        was there                   more formal set of drawings
  tss 20                           IdontknOVJ

                   21                    Were     there      workers who were members of the                                             n2l you see here
                                                                                                                                                    22                        In    some        cases        there       would           have       been          but
  10400422                    safety     committee as well
                                                                                                                                                              tIc                   that      that mill         was       built         and     grew somethin8
                    23                   Yes sir                                                                                                     23                  way
                                                                                                                                                                                                                                                                         set
                                                                                                                                                     24                                   there       would         have been              an incomplete
                                                                                  committee do in the                                                         like        topsy
   10400624                              What     did       the safety
                                                                                                                                                                                                               for the          mill
                                                                                                                                                     25        of as-built                drawings
   io25                        .jvS

                                                                                                                                                                                                                                                                  Page    80
                                                                                                                           Page     78
                                                                                                                                                                                                                                                             of
                                                                                                       think                                                                   Do you know               where           the    incomplete            set

                                         Well they met periodically
                                                                                                                                          110616
   504010

                                                                                                                     of the                                    as-built            drawings           may      be   now
                                                               and    they              The       niernbers                               15061
    10401                     generally        monthly
                                                                                                                                                                                                                                           thats      all
                                                                                             do        an inspection
                                                                                                                                                                                   dirlnt say          there    was               said
                                         committee          would          actually
                                                                                                                                          550052
    I046fl                     safety
                                                                                                                                                               therecouldbavebeen                               Therewouldnothavebeen
                                                                                       and                          that                  510624
                               each     month of the operations                                  anything                  they
    104624


                                                                                             record and             turn    into                               as-built             drawings
     50.462                    deemed      to   be unsafe they would                                                                       110656


                                                                                                                                                                               Have you seen any drawings                                of the      dry
                                                      for                         if
     104030                    management                   correction                 possible

                                                                      the     1956          State                                                              miii           say inthelasttenyears
     564636
                                          Did you review                                                 Department

                               of Health                    with     the    safety          committee                                                                    ANosir
      104040                                    report
                                                                                                                                           110630
                                                                                                                                                                                   Do you know            where           any might           be
      50.4642                             ProbablynotasarePort
                                                                                                                                           lI34          10                        Nosir
      10.4640           10                Did you ever discuss with                              the    safety

                                                                                                                                                                                   Lets go       to    Exhibit           19      Does      this     appear
                               committee         the matter of asbestos                          in    the dust
          504010        11
                                                                                                                                                                                                                    of                                      dated
                                                                                                                                            iioc         12     to       be        tentative      outline                      safety    program
          104052        12                ldontiecall              no sir
                        13                Did you discuss generally                               the     dust                              io           13      March              13 1957
          500104

                                                                                                                                            to           14                        Yes sir
                         14     problem
                                                                                                                                                                                   IsthisadocumentyoulikelysaWm                                             1957
                                                                                                                                            i.eioo15
          oioo           15               Yes
                                           Without          discussing         it      as   asbestos           dust                          ioi 16                 in   Libby
           504104        16

                                                                                                                                             iz17                                  Yes sir
           ioi 17                          Yessir
                                                                                                                                                          18                       Lets go on           to     Exhibit 20                Does       this
                                           And was that             true     through             the     rest    of your                     Ito1I6
                         18

                                                                                                  to    the    mid- 60s                                   19        appear
                                                                                                                                                                                    to   be      letter      from        Mr       Gandhi G-A-U-D-IN
                                                the                committee                up
           504116        19     years on              safety

                                                                                                                                             iio 20                 to    Mr Kelley executive                        vice-president                 of Zonolite
           10475620                        Probably          yes
                                                                                                                                                          21        dated          June    26 1957
                         21                LetsgotoExhibitl9
                                                                                            we    have        another                                     22                        Yes sir
                         22                Before        we do that           can


                          23       break please
                                                                                                                                               w23                                  IsthisadocumentthatyousawatLibbY

                                                                                                                                               oi24                 inthel950s
            ucso          24               Sure

                                                                                                 Going        off   the                                   25                        Yes sir                                                                         ______
                          25                      THE VEDEOGRAPHER

                                                                                                                                                  BEDMAN                                   ASA REPORTING                                        406752-5751
            Page              77        Page 80
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El LOVICK VOL.1                                                                                                       CondenseIt                                             HORLBERT VS W.R GRACE
                                                                                                                  Page       81
                                                                                                                                                                                                                                        Page 83
 uo7                              tlikelyyousawjtonoraboutits                                                                                      questioning
              date
                                                                                                                                  uc                         Go ahead             and    answer           it     Earl
                           Yes sir                                                                                                                                THE WITNESS                      Yes sir               see that
                           Lets go                                     21 Does
                                              to   Exhibit                                this
                                                                                                  appear                                           BY MR HEBERLING
 IO154        to     be        letter    of     Ben Wake               to    Mr Bleich             manager             of                                    So was               your understanding that the
                                                                                                                                     IO44                                    it


 iiai         Zonolite            dated       January            12 1959                                                                           average       27 percent             sbstointhduin                                 the   air
 iI7                       Yessir                                                                                                 iui              did not include                the   small particles                  which        were not
 1IL                       And        did
                                              you        see    this    and       the    attached                                 iiu.             counted as asbestos
 I1OL%        report       at    or about          its    date                                                                    I1I1r                           ML GRAHAM                        Objection              Foundation
         10                Probably yes sir                                                                                       iiti 10                   in ahead              and    answer            if
                                                                                                                                                                                                                 you can
         11                Letsgo                               oneofthereport                     Do                                       11                    THE WITNESS                           dont      kn0wwlr
 ii12 you see just above                             Concentrations                           two-thirds          of              UdhOl     12     that   would        be true          or
         13   the     way down and                   then       two      lines     up from that The                                         13     BY MR HEBERLING
llO34    14   wet      mill was          off the          line     or out of operation                    for                               14              Then                   two do you see                        table    of
                                                                                                                                                                       page
         15   that     period          thereby                               dustiness
                                                          reducing                                                                ILI1IO    15     samples taken                  13    samples
n.c      16   considerably                      Do you see              that                                                      lldIO     16              Yes        sir
         17                Yessir                                                                                                 11U14 17                  And at the bottom                       it
                                                                                                                                                                                                         says      Maximum
         18                And        then      theres mention                                   same                             U1l 18 Allowable                                                                   Dust 5.Oi
                                                                                  in that
                                                                                                                                                                       Concentration                     Asbestos
         19   paragraph           just above              what                      Ore from Bin
                                                                        read                                                                19              Yes
itoa2Q        No.1             WeretherefivebjnsforfIvesiofore                                                                    iiii20                    And then for example the first three
iiou2l                     There        were five                       but they were               not
                                                               bins                                                                         21     samples        do you see that that exceeds                                 the standard
LII6     22   for     sizes     of ore                         were     for different             blends
                                                They                                                             or               iin 22           of five
         23   different          types of ore                  Those        bins    would have              been                            23              Yes sir
         24   for                    mill                 not concentrate
                      storing                 feed                                                                                iin 24                    Then       page        three            Pages         three four          and
 ig 25                     Were         there      five        sizes    of concentrate              or                            iiiiio    25     five    do you see where                       this                           into
                                                                                                                                                                                                          report        goes

                                                                                                                  Page 82                                                                                                                Page      84
              five     grades                                                                                                                      considerable             detail      as to       which         screens        by number
                           Of concentrate                  yes                                                                                     and which           maclimes              were        leaking         dust
                           And which was                       the smallest              No         or                                                      Yes sir               Isee that
              No                                                                                                                                            Did you go                 along on           this    inspection             Do
n-                         No.5
                                                                                                                                                   you know
                           SowoulditbefairtosaythatNo.5                                                                                                      dont know but probably not
              being       the    smallest            would           generate           the    most dust                                                    And did Zonolite dispute this report
1lj6          when             was moved
                                                                                                                                                            No sir
                          it




                           Probably yes                                                                                                                      So                          say thatZonolite agreed
                                                                                                                                                                  is   itfairto
         10                Okay          Then            under         Concentrations                     five                                            there                                           dozens         of places
                                                                                                                                              10   that            were           it
                                                                                                                                                                                       appears                                           that
ii       11   lines       down         theres             sentence           beginning             The                            ii               needed       repair as          of the date             of this report
         12   percentage             of airborne               asbestos          was determined                  to    be                     12                  MR MURPHY                        Object to the form of
         13   in       concentration                of    from 12 on 31 percent                           with an                             13   the    question
         14   average          being                                        27                       Do you
                                          approximately                           percent                              see        uIzo 14                         THE WITNESS                      Zonolite             didnt     object
thIi2    15   that
                                                                                                                                  ui          15   to   it but that doesnt                    necessarily               mean     that   they
itioi    16                Yessir                                                                                                             16   agreed       with    it    all
I1 17                      11n in the               last       line it says              Those                                    11dt46      17   BY MR HEBERLING
iiii 18                         that     were       so small
              particles                                                 that     their        md-like                             IId 15                     Okay            Then       page        seven         in the       middle       of
ui 19 appearance                     could         not be        observed           were         not counted            as        1H2d4       19   page     do you see where                                       All of the
                                                                                                                                                                                                   it
                                                                                                                                                                                                         says
         20
UiQi4         asbestos          but     were evaluated                  as       in the        overall      dust                  ui 20            locations       enumerated                 were those                that   were apparent
iiioo    21   level            Do you see that                     Thais the very last line                                       UI3 21           as   major offenders                 in either production                      of dust or
iii 22        of page          one                                                                                                            22        the sacrifice
                                                                                                                                                   in                             of exhaust capacity                     which        permitted
         23                      MR GRAHAM                         would          object         to the                           uo 23 dust to be generated                                 at                  that    should have          been
                                                                                                                                                                                                  points
         24   form        of the questioning                    on     the    basis       that    the                             111.31424        controlled          as    designed              The      points        enumerated              were
         25   document speaks                      for    itselL        Its improper                                              111314      25   not    all   of the locations                  where          dust     was produced
BEDMAN                          ASA REPORTING                                             406752-5751                                                                                                                            81
                                                                                                                                                                                                                    Page                Page 84
                                                  Case 01-01139-AMC                                           Doc 22814-30                                   Filed 08/14/09                                     Page 23 of 25
                                                                                                                                                                                                     EKL JJ
                                                                                                                         Cond                                                                                                                          PageSl

flIJRLBERT                              VS WL GRACE                                                                              85
                                                                                                                     page
                                                                                                                                                                           No sir
                                                                         cfrcam                     that     pid                                                            Yes            We can understalld
                                                                                                                                                                                                                              that     Wben you

                  nor           wcI
                                                   of
                                                         all


                                                         dust            Do you see that                                                                 read this did                           you
                                                                                                                                                                                                       ds             ndthatt1              asbestos
                                                                                                                                                                                                                                                             dust



 uu               tbe         escape
                                                                                                                                                             was                se1ouS           bealth     hazard
                                   Yes             sir
                                                                                  ToxiCitY              it   says
                                                                                                                                                                                Ye                   We reaid that
                                      Okay Tben                     under
                                                                                                                    to                                                                                          that as early
                                                                                                                                                                                                                              as            56
 UI-
                                                             E11m and                                                                                                           Did ou xalize
                   UACOdifltO
                                                                                                 1933        DO you see                     1I                                                                  in tbe 56 report
                                                                                                                                                                                                                                 and
                                                                         AsbeSt0S                                                                                               It      was      so staled
                                              PulmonarY                                                                                                                                                                                    hazard-
                       Ethnan                                                                                                                                                                         that               it   was
 i1l36
                                                                                                                                                                                        we widcrStOO4
                                                                                                                                                              yes sir
             -i
                       that
                                                                                                                                                                                   And           OUShazard
                                        Yes             sir
                                                                                                                     1l
  uaa                                                                                be an artic                                                                                   Yes         sir
                                        DoeS that                 appear
  uu                                                                                                                                                                                                                           eight

                        Jo                                                                                                                                                                                                                        in
                                                                                                                                                                                                   at page
                                                       UyCne                                                                                                                       Tben do you see
                                              of Indus

                                                                                                                                             12 recoti agaib0
                                                                                                                                                        11
  1l         10


             ii                            Yes          sir
                                                                                                              of that                                                                                  be repaired
                                                                        youhadac0PY                                                                     13 eauat
              12                           DoyouknOW
                                                                    in 1959                                                                                     Yes Sir
    ui                      cle                     Libby                                                                                              14
                                                                                                                                                                                  maintenance
                                                                                                                                                                                                                                                      be
                                                                                                                                                                And Iat conSthflt
               13
                                                                  dont knoW
                  14                         No sir                                               tained ter
                                                                                                                                                       15

                                                                                                                                                                     In No.2 do you
                                                                                                                                                                                    see that
                                                                                  one was
    11346

                                             Do you know                                                                                         ILI14  16  provide
                  15
                                                                                                                                                                 Yes
                  16        report
                                              cited          it                                                                                   u6 17                                                   undtand8                  that
                                                                                                                                                                                                                                                              is

     IU5                                                                                       no
     fl141
                   17                         Not        to    my owindge
                                                                hAcCOrdto EUma
                                                                                                              ation                                          18

                                                                                                                                                                     teThug
                                                                                                                                                                                           it




                                                                                                                                                                                          you
                                                                                                                                                                                                 your
                                                                                                                                                                                                  in   59    that            anee                     Wasnt
                                                                                                                                                             19
                   18                         It    says                                                        or       later    to
                                                                                                                                                                                                            enou
                              of      asbeSis                   must be           exped                                                                      20       happ                                              ObJe
         114 19                                                                                                      upon
                                produce                 pu    mon              fibrosis          depending
                                                                                                                                                             21
                                                                                                                                                                                                       OHA               rd obje
                                                                                                                                                                                                                                                            fo
                                                                                                                                                                                                       MP
                       20
                                                                                     and          nathre
                       21                1en of expore                                                              asbeS5
                                                                                                                                                              22
                                                                                                                                                                                                                         Objeonth
                                                                                 dust
         l1l4 22
                                concentra0fl
                                                                    of
                                                                                                         disease          th                                  23

                                                                                                                                                                                                     speal for
                                                                                                                                                                                                                       itse
                        23

                        24
                                onCe estxhliS

                                bad progeOsis
                                                                         its   at  proSsiVe
                                                                                                  can be

                                                                                                 that
                                                                                                               ouly
                                                                                                                                                   llw 25
                                                                                                                                                              24           LI report
                                                                                                                                                                           I/I/l
                                                                                                                                                                                                                                                                   PageS
                                                                          Do you           see
                         25        symptomat1
                                                                                                                                  Page 86
                                                                                                                                                                            Wi MR                 EBE.L11
                                                                                                                                                                                                                        rstafld1g                     in    59 Did
                                                                                                                                                                                           VThat       was your                                                         mor
                                                                                                                                                                                                                                                             that
                                                   Yes sir                                                                                                                                                                             being told
                                                                                                               Improper                                                                          erstaild that         you were
                                                             MR GRAW
            111422
                                                                                           Objection
                                                                                                                                                                                you un                                             to be     appli
                                                                                                                                                                                                                         had
                                                                                                                                                                                   ntei1e
                                    exatninatlOTh                                                                                                                                                                                            states
                                                                                              see it yes
                                                                                                                    sir                                                                                         Thats what           this
                                                                                                                                                                                              Yes sir
             thlk.30



                                                              THE WttNESS                                                                               l1                                                                           do that
                                                                                                                                                                                              And did                 companY
                                      BY MR IEBBRL1                                                                                                                                                                          sir
              111432

                                                        Was
                                                                                  brat      me      in 1959              that     you
                                                                                                                                      bad
                                                                                                                                                                                                 believe        so yes
                                                                                                                     with                                                                                         on
                                                                                                                                                                                                Put more manpower
                  u.ta                                                                              disease
                                                                     asbestOsiS            was
                                        learned              that                                                                                        Il
                  11144
                                                                                                                                                                                                Yes sir                                          in          nveg
                  uw.4                  prognosis
                                                                                                                                                                                                And              No                 beles

                                                              dont rec                                                                                       1I
                   fl14
                                                         You dont                recall     wr               you
                                                                                                                     had

                                                                                                               could get over
                                                                                                                             sO
                                                                                                                                                 this        1II
                                                                                                                                                                           10


                                                                                                                                                                                     pipes
                                                                                                                                                                                                  basicadY           thats           same        as    we scussed

                                                                                                                                                                                                  from tbe 56 report
                                 10
                   1114
                                                                            that     maybe people                                                            11w 12                  before
                       1114.4411
                                             derstanding
                                                              59                                                                                                                                  yes sir
                                             before                                                                                                          1I1 13                                                                    of tin
                                                                                                                                                                                                                                              transfer
                                                                                                                                                                                                  And No
                       l11444
                                   12
                                                                                                        is                                                                                                             That     all

                                                                                 dont          That
                                   13                        No sir                                                  knew         this      or                os             14
                                                                                                                                                                                                                                             to       open
                                                                                                                                                                                                                                                              contain
                       l114                                                                       wbetber                                                                                            for ore     being deposited
                                                                           dont       recall
                                                                                                                                                              .ii 15                    points                                                         with exhaust
                        ll14 14
                                             statcIfleilt-.                                                                                                                                                                  and provided
                                                                                                                                                                                                            enclosed
                                                                                                                                                                                         adequately                                                                      of
                                    i5        not
                                                                                                  read       this         After        yOU
                                                                                                                                                              81111016

                                                                                                                                                                                         ventilation
                                                                                                                                                                                                                at           was your
                                                              As of tin time you                                                                                  l8I1          17
                         l1.IS        16
                                                                                                    this     with        Mr Wake             at
                                                                                                                                                                                                        points
                                                                                      discass                                                                                   18       transfer                                                                  In   this
                                                                     did       you                                                                                858114                                                                         winre
                         U15          17      read           this
                                                                                                                                                                                                     We           sfer point                is

                                                                                                                                                                                                                                                                         of
                                                                                                                                                                  1l11             19                                                                        means
                            l1t5        18        conferenCe
                                                                                                                                                                                                                is   transfd from one
                                                                                                 no sir                                                                                           its     ore
                                                                                                                                                                                                                                                        off tin
                            iils        19
                                                               Not that              recall

                                                                                                 have        confeCe                  aT                           n81- 20                case
                                                                                                                                                                                                                to    anotber such           as falling
                                                                                                                                                                                          conveYance
                                                               Did you usnally                                                                                      i111-          21
                                                                                                                                                                                                                                                       to   be whcre1
                             s.ts 20                                                                                                                                                                                                happens
                                                                                           Mr Wake                                                                                                              whatever       it

                                                                                 with                                                                                                     of      belt or
                                                  tin        inspect
                                                                           oii                                                                                      lll7 22                                                          anotin
                             llIS 21                                                                                                                                                                                     location to
                                                                                            lie bad
                                                                                                              termination
                                                                                                                                                                                           transferred          from one
                                                               Usually            yes                                                                                               23                                                      being
                                                                                                                                                                                                                         mdeistood that as
                                                                                                                                                                     11l7t
                              1115.1222
                                                                                                                                                                                                       Okay        So    you
                                                   conference                                                                                       in                l1L7 24                                                                    not just tin place
                              11151823                                                                              what         happened                                                                   all      transfer points
                                                                You just dont                                                                                         ilI1M          25    generallY
                                                                                                                                                                                                                                                             406752-
                                                                                                                                                                                                            ASA IEPORTI
                                lll5         24

                                             25     1959                                                                                                                   BEDMAN
                                                             rage 88
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 EARLD LOVICK VOL                                                                                                     CondenscIt                                                 IIURLBE1 VS W.L GRACE


                                                                                                                                                                                 bt
                                                                                                                 Page 89
                                                                                                                                                                                                                                                    Page 91
                   you      called       the transfer point                  where                                                            BY MR HEBERLING
   111146
                                                                                             the trucks
   111721          dumped         it     into
                                                          conveyance             down        to the dry               mill                                  Did you
   I1175                     No That transfer point was an entity                                                in          III                            Yes         We knew that                      that    was           difficult
   1II1%           itself     and        this    does       not refer to           that          at   all                    Il2              rule     to   enforce              and the supervisors on                          the    job    did
   111L            This would be transfer points                                 in the          mill                                         their       best to enforce                 it but          it was          problem             We
  UIL04                      How about transfer points                                 outside             the mill          II               knowthat
  IIL-46           wIe the ore                  is   being       deposited             into
                                                                                                  open        storage        I146                           Anddidyotjknotythatjnthe5Osand
  1IILtG                          MR MURPHY                       Objection             to       the       form of           112146           60s
  lIII6                    question                                                                                          IlIo                           Certainly
  111816     10    BY MR. HEBERLING                                                                                          iiio 10                        To yow knowledge was anybody ever
  111112     11              Did you understand                         that those               should          be          11212111         disciplined             for    not wearing                        respirator
  111814     12    ventilated        as       well                                                                           1126 12                                        dont know what you mean
                                                                                                                                                            Well                                    by
  111816    13               No sir and                   this   doesnt refer to that                                        iia.a       13   Disciplined                    but        certainly
 111821     14               You understood                      it    as   being            this          report                        14                 Lets say                   written reprimand                        Was      there
            15
 111134            relating just to the                    dry mill                                                          iino1S           ever     any written reprimand                               to    an    employee          for       not
 111836     16               Yes sir                                                                                         II4I 16          wearing                                     while
                                                                                                                                                                  respirator                          you         were     working            there
                             Then No.5
 111838     17                                            the    recommendation                        is    repeated        li17                           Nottoniyrecollecthn                                  no      sir     Idont
 IIt8       18     That until such time as repair and maintenance                                                            H21         18   know        of
                                                                                                                                                                 any
 111846     19     of .. the exhaust and the ore
                                                 conveying systems has                                                       iiao        19                 And you were the                        keeper               You were in
 ii20              been completed   all the men in the    mill be                       thy                                  11214620         cbaie of            the                     who kept               the records
                                                                                                                                                                        people                                                          at    least
 iii 21           provided                and                                    be wear
                                    ..               ..    required         to                                               ito2I            from        54     on     all      thewaynati                      83
 iisa 22          respirators                  Why         is this      repeated            if   they        were            11215422                       Well1                      That     would            be
                                                                                                                                                                        yes                                            office     records
 iii 23           wearing respirators                       anyway                                                           11215123         but you see up                      at    the operation                  they     would         have
   iio 24                        MR MURPHY                        Objection                 Form                                         24               own record keeping
                                                                                                                             1l2121           their                                                  system and                   would        have      no
   1182125                       MR GRAHAM                            Objection             Form                             aia- 2.5         direct        supervision                over     that


                                                                                                                 Page 90                                                                                                                                      92
                                                                                                                                                                                                                                                     Page
111804                           MR MURPHY                        Object          to the          form of                                                   So                                 to    an                          for    not
                                                                                                                                                                      reprimand                             employee
I1l806            the     question              Foundation                                                                                    wearing             respirator              in the          mill would             have        been
IIl866            BY MR HEBERLINth
                                                                                                                                              kept     at the       mill office
111846                       Was         it   your understanding                       the       men were                    iis                            Probably yes
112810
                  wearing respirators                                                                                        ii                             Would           it    have     gone           into     his    personnel
lII812                       Yes sir                That was           one of the                                            uai              file

1Il814            requirements                  Idontlmowwhyitwouldbe                                                        l12136                         Not necessarily                     no
11.1814           repeatedi                                                                                                  112126                         Did you keep                  the                            files     at   the
                                                                                                                                                                                                    personnel
1119-16
                             IbelieveyOutestlijedheforeabout                                                                 112U0            office        downtown               where you were
111834      10    95      percent of the time while                          you were                 at    Grace was                    10                 Yes sir
            11    in the office               and     five percent               out         the       mine
                                                                                       at                           and      124611
                                                                                                                                                            SowhileyouwereatZonoliteS4to83
            12    the     mill                                                                                                           12   was      there
                                                                                                                                                                      policy            of keeping               the   reprimand                   any
            13               Well                                                                 inthe
                                                    bulkofmytimewas                                                          1212113          written          reprimands                on an employee                    in his       personnel
            14    office certainly                    yes        Five       percent 95                percent                ii14             file
            15    that     breakdown                 is          cant                        it
                                                                                                                                                            No sir
tI19-21
                                                                            dispute                                          11a114      15                                       believe           not
111834      16              Is   that         reasonable                                                                     l121 16                        And as           to    any     employee who was reprimanded
lI.19-.34   17              Ithiukso                                                                                                     17   for    not wearing                       respirator           at                          outside
                                                                                                                                                                                                                  someplace
iiio 18                     So is it possible                    that tie        men were                  not                           18   the    dry mill           where would                       that                          have        ended
                                                                                                                                                                                                                  reprimand
111821      19    wearing        respirators               when        the supervisors                      werent           iltz 19                 in        file
                                                                                                                                              up
111844      20    around                                                                                                                 20                 WeU         it   would            depend             on where         that
            21                   MR MURPHY                        Object to the form                          of                              what department
                                                                                                                             112213021                                             that       employee was in and each
            22    the
                          question             Vague and ambiguous                                                                                                    would
                                                                                                                                              department                                have        their       own suboffice                 if
                                                                                                                                                                                                                                                   you
iio 23                           THE          WITNESS                 Certainly         its                                              23   vim
            24    possible                                                                                                   iirzio24                       So did          the    construction                                         have
                                                                                                                                                                                                                  department
u19s225           Il/Il
                                                                                                                             l1223625         suboffice

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                                                                                                                            Page 93                                                                                                                               Pa

I124                          AYessir                                                                                                     I125I1                                  Okay           And do you know                          what       Mr Kujac
l154                                Okay            On the         covor      of    the       report
                                                                                                               which                       115324                   fralning          was
                                                                                              same statement                                                                      He was                                    of tic      Butte School                  ol
112300                 is part      of Exhibit              21 we           have    the                                                    1k2444                                                     graduate

                       fl report              is   confidential               Do you see                  that                             115524                       Mines              believe         his major was                   in geology


                                    Yes sir                                                                                                1124.24                                Toyourknowledgedidlehaveanylrain
                                                                                                                                                                        in indusirial            hygiene
IIZ3I0                              Andagaindoyouknowifthiswasthe                                                                          Il2423



                                                                       or   whetI                  was         the   States                                                       No specific                hauling           that        know          of
112312                 companys                suggestion                                     it                                           115-.34




                                              to            this   statement             on the face                 of the                                                       Did you have                     some responsibility                     for
112314                 suggestion                   put                                                                                    1123-40




I12316                 report                                                                                                              11c                          safety     as       member of the safety committee

112311       10                     It   was not the companys                             suggestion                 no                    fl254Z10                               Yes       sir


I123         11        sir     It   would have               been       the       doings           of    the                               lI11                                   What was that

             12                                    of Health                                                                               112546             12                  Well            would            have been                     would have
                       Department

             13                     Wasthisreportinfactkept                                                                                11532313                     been responsible                   to      see that       proper records                 wer

1l23 14                confidential                                                                                                                           14        kept     and tic safety committee met as scieduiet
                                                   by mnanageucnt                                                                          115356



                                                                        would                                                                                           tic    recommendations                       of tic                        committee
                                                                                     say so                                                iiooo              15                                                                    safety
 112332      15                     Generally               yes
             16                     Was        this report             disseminated                 to    tic                               p12423            16        followed           and      carried          out
 11233Z



 I1233       17        employees                                                                                                            iio 17                                Before            1963          did tie       company have                      saf


             18                     No sir                                                                                                  1124c06           18        manual

 112344      19                     Regarding               the    statement             from Dr Ellman                                     lI26c             19                  Have         what

 ii20                  the     1933       article         which was quoted                         on    the     seriousness                iio 20                                      safety        manual

             21        of asbestosis                 was     that       disclosed         to       the    workers          in                                 21                           MR MURPHY                       Read that back please

 iisss 22               1959                                                                                                                                  22                           niB VIDEOGRAPHER                               Excuse          me Vv
 1125623                                      MR MURPHY                     Object       to    the       form        of                                       23        goingtohavetogoofftlerecordtochangeta

             24         the    question              Its based              on hearsay                                                                        24        moment

             25                               THE WITNESS                   So     far   as         know             we                                       25                   Were           going           off the record              at




                                                                                                                                Page 94

                        never had                                 of that         report           so     it    wouldnt have                                             approximately               1126
                                                     copy
                        been        disseminated                   to    tlcm                                                                 III                                          Brief      recess

                        BY MR HEBERLING                                                                                                       oio                                          IBEVWEOGRAPHER                              Were back            on    the
  iio
                             How about tic                               statement                 that    was quoted                to       lIl4                       record         Its approximately                      1129

                        ticm by the State in the 1959                                                                Was      that                                                         ThE REPORTER                     i1l     go ahead        and read
                                                                                              report
                                                                                                                                                                         the                     back
                        disclosed              to the        employees                                                                                                         question

                                              MR GRAHAM                       Objection                    Foundation                                                                      The       reporter         then      read     back the

                        Competency                    of this withess                     as regards                 to oiler                                            requested
                                                                                                                                                                                           material          beginning            at   page      95      line    17   at



                        people disclosing                         it   to tie       employees                                                                            ending       at   page      95       line    20
   ii         10        BY MR HEBERLING                                                                                                        113624          10                          THE WITNESS                      dont       really       recall


              ii                         To your knowledge                                                                                      1l32411                    know         that   at    one tine            the   company             published

                                         To my knowledge                                                   dont know                                           12                     manual and had                  it                   but       dont reall
                  12                                                               no srr                                                       113024                   safety                                            printed

                                                                                   them                                                                                   remember when                       would         have       been
                  13     that       it   was        disiributed              to                                                                 1133C              13                                   it




                  14                     In   1959        who was primarily                               responsible             for            ii                14     BY MR HEBERLING

                                                                                                                                                                   15                 Could         thatbave          been        inthe       60s
    113434        15     safety                                                                                                                  113044


                                                                                                                                                                                                                                    been
                                                                   manager R.A
                                         Tie                                                             Bleich                                                                       Yes sir                could       have
    ii3 16                                         general
                                                                                                                           It                    1334616                                              it



                         would have been                          his responsibility                                                                 Il3I          17                 Lets refer             to    Exhibit 22
                  17


                  18                     And what was                       Mr Kujawas                         responsibthty                                       18                       MR GRAHAM                      Jon before you do that

                                                                                                                                                                                         Exhibit 201                was just looking                              and
                  19     there           as chief         engineer                 Was         safety            something that                      th3106        19     back     at                                                               at   that

                  20     Ic had                                        had                                           for                                           20     it                have        read       the     letter      from Mr Clemmon
                                          specifically                            responsibility                                                     113110                    says

                                                                                                                                                                   21     from the             Bureau             of Mines          and so forth                Was
                  21                     Probably             yes                                                                                    113114



                  22                     And was           that so
                                                                   up until 1963 at least                                                            113116        22          copy     of that      letter         or is      this the     only      document

                  23                     Well             dont know that Ic would have been                                                           11311123            that    you had

                  24      responsible                 all    of that period                        but certainly                some                  15310        24                       MR HEBERLING                        This     is all       have

                  25      of    that period                 Ic was                                                                                    13125                                 MR GRAHAM                       Okay         So you dont              ban
                                                                                                                --_________

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                                                                                                                                                      BEDMAN                                   ASA REPORTING                                        406752
